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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff,

v.                                                Civil Action File No.
                                                  1:18-cv-05868-LMM
JOSEPH A. MEYER, JR. and
STATIM HOLDINGS, INC.,

       Defendants.


  RECEIVER’S MOTION TO ALLOW AND PAY FEES AND EXPENSES
      TO THE RECEIVER (FOURTH INTERIM APPLICATION)
                  WITH BRIEF IN SUPPORT

      Al Hill, the Receiver appointed in these proceedings (“Receiver”), files his

motion for payment of fees and expenses incurred in his duties as Receiver for the

period April 1, 2020 through June 30, 2020 (the “Application Period”).

      On July 9, 2019, this Court appointed the Receiver “for the purposes of

marshaling and preserving assets of Statim and the hedge fund that it controls, Arjun,

L.P. (‘Arjun’ or the ‘Fund’) and for obtaining independent representation for Statim

and the Fund.” [Doc. 71 at 1-2.]




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       During the Application Period, the Receiver, lawyers, and paralegals at the

office of Taylor English Duma LLP have performed services and incurred expenses

in furtherance of the Receiver’s duties under the Order as follows:

       (a)   Activities of Receiver                           $     61,936.06

       (b)   Counsel to Receiver                              $     33,343.01

       (c)   Assisting Receiver in Fulfillment Duties         $      9,767.03

             TOTAL:                                           $    105,046.10

       All of the foregoing work was under the category of Case Administration as

defined in the “Billing Instructions for Receivers in Civil Actions Commenced by the

U.S. Securities and Exchange Commission” (“Billing Instructions”). The Receiver is

attaching Statement numbers 585098, 585099, 585100, 591722, 591723, 591724,

596455, 596456, 596457, and 596458 from Taylor English Duma LLP, collectively

Exhibit A, which summarize the work of the Receiver and the attorneys and

paralegals who assisted the Receiver in the fulfillment of his duties during the

Application Period. The invoices reflect: (1) the date services were rendered; (2)

identification of the individual rendering the service; (3) description of the work; (4)

hourly rate; (5) monetary charge associated with the services performed; and (6)

expenses incurred.




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       In addition, the Receiver retained, with Court approval [Doc. 83], the services

of Lightfoot Group, LLC for accounting work. During the period, Lightfoot Group

performed services and incurred expenses as follows:

       (a) Litigation Counseling                            $        .00

       (b) Accounting/Auditing                              $ 38,445.00

          TOTAL:                                            $ 38,445.00

       The invoice of Lightfoot Group is attached as Exhibit B, along with its

certification required by the Billing Instructions. The invoice reflects: (1) the date

services were rendered; (2) identification of the individual rendering the service; (3)

description of the work; (4) hourly rate; (5) monetary charge associated with the

services performed; and (6) expenses incurred.

       The Standardized Fund Accounting Reports (required by the Billing

Instructions) are attached as Exhibit C and provide a summary of the financial

condition of the receivership.

       During the Application Period, the Receiver (a) worked extensively with

Lightfoot Group to review investment and financial information pertaining to Statim

and the Fund and to prepare necessary financial reporting, (b) communicated with

Mr. Meyer and his counsel as needed, (c) communicated with investors and their

counsel, (d) worked with Lightfoot Group and Panoptic to deliver monthly statements

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and tax reporting information to investors, (e) searched and reviewed electronic

records in the database, (f) updated the receivership website to keep investors

informed, (g) prepared and submitted a motion to the Court to approve a distribution

plan for the assets of Arjun, L.P., (h) reviewed and responded to objections to the

proposed plan, and (i) reported to the Court as required. The Receiver has not yet

determined when the receivership is expected to close.

       Pursuant to the Billing Instructions, the undersigned certifies as follows:

             (a) the undersigned has read the Application;

             (b) to the best of the Applicant’s knowledge, information and

       belief formed after reasonable inquiry, the Application and all fees and

       expenses therein are true and accurate and comply with the Billing

       Instructions (with any exceptions specifically noted in the Certification

       and described in the Application);

             (c) all fees contained in the Application are based on the rates

       listed in the Applicant’s fee schedule attached hereto and such fees are

       reasonable, necessary and commensurate with the skill and experience

       required for the activity performed;

             (d) the Applicant has not included in the amount for which

       reimbursement is sought the amortization of the cost of any investment,

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      equipment, or capital outlay (except to the extent that any such

      amortization is included within the permitted allowable amounts set

      forth herein for photocopies and facsimile transmission); and,

             (e) in seeking reimbursement for a service which the Applicant

      justifiably purchased or contracted for from a third party (such as

      copying, imaging, bulk mail, messenger service, overnight courier,

      computerized research, or title and lien searches), the Applicant

      requests reimbursement only for the amount billed to the Applicant by

      the third-party vendor and paid by the Applicant to such vendor. If such

      services are performed by the receiver, the receiver will certify that it

      is not making a profit on such reimbursable service.

      In addition, as required by the Court’s Order [Doc. 71 at 21], the undersigned

certifies that: (i) the fees and expenses included were incurred in the best interests

of the Receivership Estate; and, (ii) with the exception of the Billing Instructions,

the Receiver has not entered into any agreement, written or oral, express or implied,

with any person or entity concerning the amount of compensation paid or to be paid

from the Receivership Estate, or any sharing thereof.

      Finally, as the Court directed [Doc. 71 at 20], the Receiver supplied a draft of

this Application and all attachments to the SEC and counsel for Mr. Meyer on

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April 17, 2020. By e-mail on April 20, they responded that they had no objection to

the Application.

      The Receiver respectfully requests that the Court grant this interim application

for payment of fees in the amount of $105,046.10 to Taylor English Duma LLP and

$38,445.00 to Lightfoot Group, LLC, for a total of $143,491.10. A proposed order

is attached as Exhibit D.

      Respectfully submitted, this 20th day of July, 2020.


                                              /s/ William G. Leonard
                                              WILLIAM G. LEONARD
                                              Georgia Bar No. 446912
                                              bleonard@taylorenglish.com

                                              TAYLOR ENGLISH DUMA LLP
                                              1600 Parkwood Circle, Suite 200
                                              Atlanta, Georgia 30339
                                              Telephone: (770) 434-6868
                                              Facsimile: (404) 434-7376
                                              Attorneys for Receiver Al B. Hill




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                EXHIBIT A




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         US District Court - Northern District of Georgia                              Statement Date:   May 8, 2020
         c/o Al B. Hill                                                                  Statement No.       585098
         1600 Parkwood Circle                                                              Account No.   76031.0000
         Suite 200                                                                      Federal ID No.    201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Activities of Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                           $22,985.56

                                                                                                         Hours
04/01/2020     ABH    Telephone conference with E. Tomilson regarding status of proof of claim
                      forms (0.8); correspondence with multiple investors regarding proof of claim
                      forms (0.7); telephone conference with J. Schultz regarding ongoing
                      investment of funds at Janney (0.3); review proof of claim forms from
                      Ramanathan and Roberts (0.4); review K-1s with J. Hart (0.2).                       2.60     1,105.00

               ABH    Review K-1s; draft cover correspondence; work with E. Tomilson on
                      procedure for sending K-1s; (0.9) review claim correspondence from multiple
                      investors (0.3).                                                                    1.20         510.00

04/03/2020     ABH    Correspondence with tax advisors regarding process for distribution K-1s
                      (0.4); review claims issues raised by various investors (0.8); conference with
                      E. Tomilson regarding claims responses (.0.2); meeting with B. Barber
                      regarding potential claim for past investment (2.0).                                3.40     1,445.00

04/05/2020     ABH    Review investment documents for T. Roberts and match to her investments in
                      order to verify claims regarding loans; telephone conference with J. Hart.          1.20         510.00

04/06/2020     ABH    Finalize online access to Janney accounts; review March Janney policy
                      statement and send to J. Hart and Panoptic; telephone conference with D.
                      Nagy regarding proof of claim forms; correspondence with J. Hart regarding
                      filling of Statim taxes.                                                            1.00         425.00

04/07/2020     ABH    Telephone conference with S. Sadow regarding K-1s and plans for Statim
                      claims (0.4); prepare and send additional K-1s to accounts without clear
                      addresses (0.9); review records for active accounts for Mr. and Mrs. Meyer
                      (0.5); review K-1s for certain investors with J. Hart and respond to issues
                      raised by S. Councill (0.8); investigate and respond to inquiries from G.
                      Ibrahim (0.5).                                                                      3.10     1,317.50
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                                                                                       Statement No.       585098
        US District Court - Northern District of Georgi                                Account No.       76031.0000

                                                                                                                Hours

04/08/2020    ABH     Telephone conference with G. E. Ivey regarding claims process; e-mail from
                      S. Sadow regarding J. Meyer claim versus Statim; review conversion
                      documents.                                                                                 0.90        382.50

04/09/2020    ABH     Review issues with T. Roberts; review open audit issues regarding expenses
                      prior to receivership (0.5); telephone conference with D. Nagy (0.2);
                      investigate proper custodians of all IRA accounts (1.2).                                   1.90        807.50

04/10/2020    ABH     Review additional claim forms; review current transactions from Janney;
                      telephone conference with J. Hart; respond to e-mail from Mr. Ivey.                        0.80        340.00

              ABH     Analyze investments in Ivey account; send detailed analysis with backup
                      statements to Mr. Ivey.                                                                    2.40       1,020.00

              ET      Filed Annual Report for Arjun, L.P. with Delaware Secretary of State.                      0.20         39.00

04/11/2020    ABH     Analyze proof of claim forms; review legal prohibition on loans from
                      tax-deferred accounts.                                                                     0.80        340.00

04/13/2020    ABH     Correspondence with various investors regarding completion of proof of claim
                      forms (0.6); telephone conference with J. Havriluk (0.5); telephone conference
                      with B. Goldberg regarding movement of funds into money market account
                      (0.1).                                                                                     1.20        510.00

04/14/2020    ABH     Telephone conference with M. Hamblin regarding analysis of his
                      investment/loan accounts.                                                                  0.50        212.50

04/16/2020    ABH     Telephone conference with B. Goldberg regarding status of Treasury Note
                      account (0.2)t; telephone conference with US Treasury regarding online
                      access to account (0.9); e-mails with accountants to respond to Sorin request
                      regarding K-1 amounts (0.3)..                                                              1.40        595.00

04/17/2020    ABH     Telephone conference with Treasury Direct regarding online account access;
                      update all online information and review Treasury Note accounts.                           0.80        340.00

04/19/2020    ABH     Begin review of all claim forms; correspondence regarding missing forms.                   0.70        297.50

04/20/2020    ABH     Telephone conference with E. Tomilson and B. Leonard to review all proof of
                      claim forms and develop a plan for addressing all open claims; review claims
                      from Harrison and Ivey (1.6); review claims of Majmudar and Meyer (0.5).                   2.10        892.50

04/21/2020    ABH     Telephone conference with E. Tomilson regarding U. Majmudar claim;
                      telephone conference with S. Councill; telephone conference with B. Leonard
                      regarding investigation of key claims.                                                     0.80        340.00

04/22/2020    ABH     Continue to analyze claims; send summary to J. Hart; telephone conference
                      with J. Hart regarding process to analyze contested claims.                                1.30        552.50

04/23/2020    ABH     Investigate claims by certain investors, including review of original investment
                      documents (0.8); revise quarterly report (0.6).                                            1.40        595.00


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                                                                                                                       Hours

04/24/2020    ABH     Prepare for meeting and meet with E. Skandalakis (1.6); continue investigation
                      of contested claim forms (1.0); draft summary of types of claims (0.3); revise
                      quarterly report (0.1).                                                                           3.00        1,275.00

04/26/2020    ABH     Review changes to quarterly report; review analysis of several claims from J.
                      Hart.                                                                                             0.50         212.50

04/27/2020    ABH     Continue review of all proofs of claim and development of distribution plan;
                      multiple telephone conferences and correspondence with J. Hart.                                   4.60        1,955.00

04/28/2020    ABH     Continue investigation of contested claims; review Recknagel analysis from J.
                      Hart; evaluate all contested proof of claim forms; telephone conference with B.
                      Johnson; telephone conference with J. Hart.                                                       2.60        1,105.00

04/29/2020    ABH     Continue analysis of past investor accounts; multiple telephone conferences
                      with J. Hart, D. Recknagel and B. Leonard.                                                        2.20         935.00

04/30/2020    ABH     Telephone conference with Dave Recknagel to review account analysis;
                      telephone conference with J. Hart to revise Recknagel analysis.                                   1.40         595.00

              SKT     Messages with A. Hill and B. Leonard regarding quarterly report; update site to
                      address same.                                                                                     0.70         245.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                               44.70       18,899.00

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours                Rate            Total
                Al Hill                                                        43.80             $425.00       $18,615.00
                Seth K. Trimble                                                  0.70             350.00           245.00
                Elaine Tomilson                                                  0.20             195.00            39.00


04/10/2020            Filing Fee paid to Delaware Secretary of State - LP/LLC/GP Annual Tax - Arjun, LP /
                      Ref # 4332212                                                                                                  189.00
                      TOTAL EXPENSES/COSTS ADVANCED                                                                                  189.00

                      TOTAL CURRENT FEES AND COSTS                                                                                 19,088.00


                      Balance Due.................................                                                             $42,073.56

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                             Billed             Due
                           02/06/2020                569389                          5,161.25          5,161.25
                           03/09/2020                574690                          3,832.50          3,832.50
                           04/17/2020                582839                         13,991.81         13,991.81
                                                                                                      22,985.56




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                                                                         Statement No.       585098
US District Court - Northern District of Georgi                          Account No.       76031.0000




                                    Attorney-Client Privileged Communication

                         Please send payment within 15 days of receiving this invoice

                               Please access our secure online payment portal at
                                       https://taylorenglishbilling.com.

                                 Payment questions: 678-336-7258 - Kim Zaring
                                 Billing questions: kzaring@taylorenglish.com
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         US District Court - Northern District of Georgia                           Statement Date:   May 8, 2020
         c/o Al B. Hill                                                               Statement No.       585099
         1600 Parkwood Circle                                                           Account No.   76031.0001
         Suite 200                                                                   Federal ID No.    201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Counsel to Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                        $12,480.52

                                                                                                      Hours
04/08/2020     WGL Review e-mail from Mr. Hill and attached proof of claim of Mr. Meyer;
                   exchange e-mails with Mr. Hill regarding same; review multiple e-mails from
                   Mr. Hill, Mr. Hart, and Panoptic regarding Dr. Majmudar's investment amounts;
                   prepare response concerning sharing explanation of same with Dr. Majmudar           0.40         140.00

               WGL Review and respond to e-mail from Mr. Hart regarding accruals for March             0.20          70.00

04/13/2020     WGL Review e-mails from Ms. Tomlinson and Mr. Hart regarding K-1 forms sent to
                   retirement fund custodians                                                          0.20          70.00

               WGL Multiple e-mails with Mr. Hancock, Ms. Moore, Mr. Crumly, and others
                   regarding Paycheck Protection Program loan; review loan documents from
                   First Citizens; review partnership agreement; analyze issues relating to
                   approval of loan by partners; telephone call from and to Mr. Hancock
                   regarding same; prepare draft of resolution of tier 1 & 2 partners; multiple
                   e-mails with Mr. Wilson, Ms. Moore, and Mr. Hancock regarding same; finalize
                   resolution and exchange e-mails with Mr. Hancock regarding same; review
                   and respond to e-mail from Mr. Slaughter and Mr. Cicero regarding terms of
                   engagement letter for patent matter; review and revise engagement letter;
                   prepare e-mails to Mr. Gross, Mr. Snyder, Ms. Ballard, and Mr. Hancock
                   regarding loan agreement restrictions on legal work involving cannabis; review
                   responses; multiple e-mails with Mr. Flower, Mr. Polvino, and Mr. Kline
                   regarding response to demand letter against non-client relating to G2G; review
                   and respond to e-mail from Mr. Rosenthal regarding creation of non-profit
                   client addressing legal issues of franchisees; multiple e-mails with Mr. Clarke
                   regarding conflict issues relating to Blackstreet, client Teddy Riley, and Mr.
                   Minter                                                                              4.20     1,470.00

04/15/2020     WGL Review Mr. Rubio's e-mail regarding claims spreadsheet and response from
                   Mr. Hill; prepare e-mail to Mr. Hill, Mr. Rubio, and Mr. Hart regarding same;
                   review e-mail from Mr. Hart regarding same and response from Mr. Rubio              0.20          70.00
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                                                                                    Statement No.       585099
        US District Court - Northern District of Georgi                             Account No.       76031.0001

                                                                                                             Hours

04/17/2020    WGL Review SFAR reports received from Mr. Hart                                                  0.20        70.00

04/20/2020    WGL Conference call with Mr. Hill and Ms. Tomilson to go over investor claims;
                  review proofs of claim submitted by Dr. and Mrs. Barber; prepare e-mail to Mr.
                  Hill regarding same; review e-mails from Mr. Councill and Mr. Hill regarding
                  claims asserted by Dr. Majmudar and Ms. Meyer                                               1.60       560.00

04/21/2020    WGL Telephone call with Mr. Hill regarding claims of Dr. Majmudar and Ms. Meyer;
                  review their proofs of claim; locate and review Dr. Majmudar's subscription
                  agreement for Statim shares; prepare e-mail to Mr. Hill regarding same                      0.80       280.00

04/22/2020    WGL Review e-mails from Mr. Hart, Mr. Hill, and Ms. Tomilson regarding claims
                  (0.2); search and review database for investment documents of Mr. Bedner
                  (1.2)                                                                                       1.40       490.00

04/23/2020    WGL Review multiple e-mails from Mr. Hart, Mr. Hill, and Ms. Tomilson, and review
                  attachments (0.3); research database for relevant documents concerning Mr.
                  Bedner's investments (1.3)                                                                  1.60       560.00

04/24/2020    WGL Multiple e-mails with Mr. Hill regarding searches of database (0.2); multiple
                  e-mails with Ms. Jasik regarding same and review attachments (0.4); review
                  and revise draft quarterly report received from Mr. Hill (0.6); multiple e-mails
                  with Mr. Hill regarding same (0.2); review results of database searches
                  regarding Recknagels and respond to Ms. Jasik regarding same (0.8); prepare
                  e-mail to Mr. Hill and Mr. Hart regarding same (0.1); review documents
                  relating to transaction documents relating to Ms. Meyer and Mr. Bedner and
                  prepare e-mail to Mr. Hart and Mr. Hill regarding same (0.3); multiple e-mails
                  with Mr. Hill and Mr. Hart regarding quarterly report (0.2)                                 2.80       980.00

              BCJ     Conduct research in Relativity database to identify documents related to
                      subscription forms and IRS reporting forms for Dennis and Karen Recknagel,
                      Elias Skandalakis, and Beverly Harrison (2.3); create ShareFile folder and
                      upload documents for review by Mr. Leonard (.5)                                         2.80       546.00

04/25/2020    WGL Review Mr. Hart's revisions to quarterly report; multiple e-mails with Mr. Hart
                  and Mr. Hill regarding same; review SFAR reports regarding accrued
                  expenses                                                                                    0.40       140.00

04/26/2020    WGL Multiple e-mails with Mr. Hart regarding accrued expenses in quarterly report;
                  review SFAR form and receivership order regarding same; review and
                  respond to e-mail from Mr. Hill regarding same                                              0.50       175.00

04/27/2020    WGL Review documents found in search of records pertaining to Recknagel,
                  Skandalakis, and Harrison (0.8); prepare e-mails to Ms. Jasik, Mr. Hart, and
                  Mr. Hill regarding same (0.2); review e-mails from Mr. Hart and Mr. Hill
                  regarding decisions on claims (0.4); review and revise quarterly reports (0.4);
                  multiple e-mails with Mr. Hill and Mr. Hart regarding accrued expenses to list in
                  quarterly report (0.3)                                                                      2.10       735.00

04/28/2020    WGL Finalize quarterly report; prepare e-mails to Mr. Hill regarding accrued
                  expenses and to Ms. Wilson regarding filing of report                                       0.50       175.00

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                                                                                                                     Hours

              LMW Finalize Third Quarterly Status Report; prepare same for e-filing; e-file same.                     0.40         78.00

04/29/2020    WGL Prepare e-mail to Mr. Trimble and Mr. Hill regarding posting quarterly report on
                  website; review and evaluate e-mail from Mr. Hill regarding structure of plan of
                  distribution; prepare e-mail to Mr. Hill regarding same; telephone call with Mr.
                  Hill regarding same                                                                                 0.80        280.00

04/30/2020    WGL Prepare motion and brief to approve distribution plan (2.0); review e-mail from
                  Mr. Trimble and link to posting of quarterly report on website (0.1)                                2.10        735.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                             23.20       7,624.00

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate           Total
                William G. Leonard                                             20.00            $350.00       $7,000.00
                L. Mylane Wilson                                                 0.40            195.00           78.00
                Bonnie Jasik                                                     2.80            195.00          546.00


04/24/2020            Fee paid to Ricoh - invoice # ATL20010093 1/29/20 processing and hosting charges                            520.51
                      TOTAL EXPENSES/COSTS ADVANCED                                                                               520.51

                      TOTAL CURRENT FEES AND COSTS                                                                               8,144.51


                      Balance Due.................................                                                           $20,625.03

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           02/06/2020                569390                         5,028.00          5,028.00
                           03/09/2020                574691                         4,338.50          4,338.50
                           04/17/2020                582840                         3,114.02          3,114.02
                                                                                                     12,480.52




                                                Attorney-Client Privileged Communication

                                   Please send payment within 15 days of receiving this invoice

                                           Please access our secure online payment portal at
                                                   https://taylorenglishbilling.com.

                                             Payment questions: 678-336-7258 - Kim Zaring
                                             Billing questions: kzaring@taylorenglish.com
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         US District Court - Northern District of Georgia                              Statement Date:   May 8, 2020
         c/o Al B. Hill                                                                  Statement No.       585100
         1600 Parkwood Circle                                                              Account No.   76031.0003
         Suite 200                                                                      Federal ID No.    201310229
         Atlanta, GA 30339




      Statim Holdings - Assisting Receiver in
      Fulfillment Duties



                      PREVIOUS BALANCE BROUGHT FORWARD                                                            $7,456.00

                                                                                                         Hours
04/01/2020    ET      Conference call with Al to review spreadsheet and status of receipt of Proof of
                      Claim forms; review all claim forms received and update spreadsheet with
                      objections, miscellaneous comments from clients, etc.                               4.30         838.50

04/02/2020    ET      Extract and save 2019 K-1 Schedules for current investors; prepare emails to
                      current investors attaching 2019 K-1 Schedules.                                     5.60     1,092.00

04/03/2020    ET      Finish preparation of and send emails to current investors attaching 2019 K-1
                      Schedules.                                                                          2.60         507.00

04/06/2020    ET      Organize 2019 K-1s to send to different custodian/trustees.                         1.20         234.00

04/07/2020    BJG     Review BMO Harris email from J. Aldort. Review account information and
                      interest payments. Email to J. Hart regarding BMO Harris account
                      information.                                                                        0.50         175.00

04/09/2020    ET      Update POC spreadsheet.                                                             0.40          78.00

              BJG     Request monthly bank statements. Review First IC Bank statements regarding
                      recently matured CD. Review BMO Harris statements and J. Hart email w/
                      questions regarding interest calculations and account history.                      0.90         315.00

04/10/2020    BJG     Exchange emails w/ A. Hill and J. Hart regarding First IC Arjun accounts,
                      balances, CDs and interest. Exchange multiple emails w/ D. Lim (First IC
                      Bank) regarding Arjun accounts.                                                     1.10         385.00

              ET      Organize and save Proof of Claim forms received; update spreadsheet to
                      reflect new forms received; prepare trustees list with investors' names.            1.10         214.50
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                                                                                            Statement Date:     05/08/2020
                                                                                            Statement No.       585100
        US District Court - Northern District of Georgi                                     Account No.       76031.0003

                                                                                                                     Hours

04/11/2020    BJG     Draft emails to J. Hart and D. Lim (First IC Bank) regarding matured CD
                      proceeds and Arjun accounts. Review Arjun First IC Bank accounts.                               0.30        105.00

04/14/2020    BJG     Exchange multiple emails w/ D. Lim (First IC Bank) regarding transferring
                      funds and closing CD account. Telephone conference w/ L. Martin (Treasury
                      Service) regarding Treasury Direct account.                                                     0.50        175.00

04/15/2020    BJG     Telephone conference w/ L. Martin regarding control of Treasury Direct
                      account. Telephone conference w/ B. Arnott (Treasury Direct customer
                      service) regarding change of control of account.                                                0.90        315.00

04/16/2020    BJG     Telephone conferences w/ B. Arnott and L. Martin (Treasury Direct) regarding
                      account access and statements. Exchange emails w/ J. Hart regarding
                      Treasury Direct accounts and statements. Telephone conference w/ A. Hill
                      and exchange emails w/ A. Hill regarding Treasury Direct accounts and
                      statements.                                                                                     0.70        245.00

04/20/2020    ET      Telephone conference with Al Hill and Bill Leonard to review status of receipt
                      of all Proof of Claim forms; revise spreadsheet of same.                                        2.00        390.00

04/21/2020    ET      Revise spreadsheet with current list of investors with objections.                              0.90        175.50

04/22/2020    ET      Organize claim forms of investors with objections and email to Jim Hart;
                      update spreadsheet.                                                                             1.70        331.50

04/23/2020    ET      Review all Proof of Claim forms received from investors to confirm they are all
                      signed.                                                                                         1.10        214.50

04/27/2020    ET      Save Proof of Claim forms received and update spreadsheet.                                      0.50         97.50
                      FOR PROFESSIONAL SERVICES RENDERED                                                             26.30       5,888.00

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate           Total
                Bob J. Goldberg                                                  4.90           $350.00       $1,715.00
                Elaine Tomilson                                                21.40             195.00        4,173.00


04/24/2020            Fee paid to Ricoh - invoice # ATL20010071 1/28/20 processing and hosting charges                            563.50
04/28/2020            Fee paid to Ricoh - invoice # ATL20040070 - Web hosting monthly storage                                     520.51
                      TOTAL EXPENSES/COSTS ADVANCED                                                                              1,084.01

                      TOTAL CURRENT FEES AND COSTS                                                                               6,972.01


                      Balance Due.................................                                                           $14,428.01

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           02/06/2020                569391                         2,555.00          2,555.00
                           03/09/2020                574692                           268.50            268.50

                                                                                                                      Page   2
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                                                                         Statement Date:     05/08/2020
                                                                         Statement No.       585100
US District Court - Northern District of Georgi                          Account No.       76031.0003

                  04/17/2020            582841                    4,632.50         4,632.50
                                                                                   7,456.00




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                                 Payment questions: 678-336-7258 - Kim Zaring
                                 Billing questions: kzaring@taylorenglish.com
                                                                                                   Page   3
              Case 1:18-cv-05868-LMM Document 136 Filed 07/20/20 Page 18 of 98
   US District Court - Northern District of Georgia                                  Statement Date: 05/08/2020
   c/o Al B. Hill                                                                        Account No.    76031.0
   1600 Parkwood Circle
   Suite 200
   Atlanta, GA 30339



                                                  Cover Statement

                                          STATEMENT           SUMMARY




                             Previous Balance                Fees       Expenses            Payments              Balance

76031-0000 Statim Holdings - Activities of Receiver
                                    22,985.56           18,899.00         189.00                 0.00         $42,073.56

76031-0001 Statim Holdings - Counsel to Receiver
                                 12,480.52                7,624.00        520.51                 0.00         $20,625.03

76031-0003
                   Statim Holdings - Assisting Receiver in
                   Fulfillment Duties
                                      7,456.00             5,888.00      1,084.01                0.00         $14,428.01

                                     42,922.08          32,411.00        1,793.52                0.00         $77,126.60




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                     Case 1:18-cv-05868-LMM Document 136 Filed 07/20/20 Page 19 of 98




         US District Court - Northern District of Georgia                                  Statement Date:   June 12, 2020
         c/o Al B. Hill                                                                      Statement No.         591722
         1600 Parkwood Circle                                                                  Account No.    76031.0000
         Suite 200                                                                          Federal ID No.      201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Activities of Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                                 $42,073.56

                                                                                                              Hours
05/01/2020     ABH    Conference call with Dennis Recknagel to review contested accounts (0.5);
                      telephone conference with J. Hart to update Recknagel loan analysis (0.3);
                      review revised analysis of David Recknagel accounts and forward to investor
                      (0.6).                                                                                    1.40         595.00

05/02/2020     ABH    Telephone conference with David Recknagel to resolve account
                      discrepancies.                                                                            0.80         340.00

05/05/2020     ABH    Telephone conference with B. Leonard regarding distribution data required for
                      distribution plan.                                                                        0.30         127.50

05/06/2020     ABH    Multiple conferences with J. Hart and B. Leonard regarding distribution plan;
                      telephone conference with S. Pandit; draft summary of contested claims.                   4.90     2,082.50

05/07/2020     ABH    Continue to revise distribution plan; provide details to B. Leonard; telephone
                      call to S. Councill; review and revise declaration; approve filing of distribution
                      plan (1.9); review and revise response to audit letter (0.3).                             2.20         935.00

               ET     Prepare audit response letter to Rubio CPA, PC.                                           0.30          58.50

05/08/2020     ABH    Review and revise audit letter; review and respond to e-mails regarding notice
                      to contested claimants.                                                                   0.40         170.00

               GCG Review audit request letter; review and revise audit response letter; email
                   exchange with Elaine Tomlinson regarding the same.                                           0.30         105.00

               ET     Finalize and email audit response letter to Rubio CPA, PC.                                0.20          39.00

05/11/2020     ABH    Telephone conference with J. Hart; telephone conference with J. Havriluk.                 0.40         170.00

05/12/2020     ABH    Initial review of draft audit report; correspondence with R. Rubio and B.
                      Leonard.                                                                                  0.50         212.50
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                                                                                            Statement Date:     06/12/2020
                                                                                            Statement No.       591722
        US District Court - Northern District of Georgi                                     Account No.       76031.0000

                                                                                                                     Hours

05/15/2020    ABH     Review Rubio 2019 audit report.                                                                 0.50         212.50

05/18/2020    ABH     Review inquiries from S. Sadow regarding reconciliation of accounts and loan
                      interest.                                                                                       0.60         255.00

05/19/2020    ABH     Review and comment on financial reports from Rubio CPA; review analysis of
                      large investor account; e-mail to J. Hart.                                                      2.20         935.00

05/20/2020    ABH     Revise financial statements; e-mails with M. Rubio; telephone conference with
                      R. Gidwani; review Gidwani accounts; review Bhagarath account analysis.                         1.70         722.50

05/21/2020    ABH     Conference with J. Hart to review analysis of Majmudar account.                                 1.50         637.50

05/22/2020    ABH     Review requests for loan forms for key investor; correspondence with B.
                      Leonard regarding record search; pay Bizfilings invoice for registered agent
                      service.                                                                                        0.60         255.00

05/26/2020    ABH     Telephone conference with R. Rubio and J. Hart to answer questions
                      regarding audit controls; review end-of-year financial reports.                                 1.20         510.00

05/27/2020    ABH     Review and comment on audit report; review Confidential Information
                      Memorandum for authority to charge expenses to Arjun; telephone conference
                      with J. Hart regarding Statim financial records.                                                1.80         765.00

05/29/2020    ABH     Telephone conference with R. Gidwani regarding past account.                                    0.50         212.50
                      FOR PROFESSIONAL SERVICES RENDERED                                                             22.30        9,340.00

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate          Total
                George Gaskin                                                    0.30           $350.00        $105.00
                Al Hill                                                        21.50             425.00       9,137.50
                Elaine Tomilson                                                  0.50            195.00          97.50


05/28/2020            Refund for overpayment paid on check # 995026 from Al Hill. Money going to
                      Lightfoot Group, LLC                                                                                       14,300.00
                      TOTAL EXPENSES/COSTS ADVANCED                                                                              14,300.00

                      TOTAL CURRENT FEES AND COSTS                                                                               23,640.00

05/26/2020            Payment. Thank you. Check No. 995026 - US District (Al Hill) (going to Lightfoot
                      Group)                                                                                                 -14,300.00


                      Balance Due.................................                                                           $51,413.56

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           02/06/2020                569389                         5,161.25          5,161.25
                           03/09/2020                574690                         3,832.50          3,832.50

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                                                                         Statement Date:     06/12/2020
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US District Court - Northern District of Georgi                          Account No.       76031.0000

                  04/17/2020            582839                   13,991.81         13,991.81
                  05/08/2020            585098                   19,088.00          4,788.00
                                                                                   27,773.56




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                                                                                                   Page   3
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         US District Court - Northern District of Georgia                              Statement Date:   June 12, 2020
         c/o Al B. Hill                                                                  Statement No.         591723
         1600 Parkwood Circle                                                              Account No.    76031.0001
         Suite 200                                                                      Federal ID No.      201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Counsel to Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                             $20,625.03

                                                                                                          Hours
05/02/2020     WGL Review e-mails from Mr. Hill and Mr. Recknagel regarding resolution of claim            0.20           70.00

05/04/2020     WGL Prepare motion and brief on claims process and distribution plan (3.6); review
                   past e-mails and court filings for information needed regarding claims (0.8);
                   prepare e-mail to Mr. Hart with questions regarding same (0.2); prepare e-mail
                   to Ms. Jasik regarding search of database and review response (0.1)                      4.70     1,645.00

05/05/2020     WGL Prepare motion and brief on distribution plan (4.0); multiple e-mails with Mr.
                   Hill and Mr. Hart regarding facts and financial analysis of disputed claims (0.8);
                   exchange e-mails with Mr. Hill regarding draft of motion and brief (0.2)                 5.00     1,750.00

05/06/2020     LMW (NO CHARGE) Prepare Second Amended Order, received from court, for
                   attorneys' review.                                                                       0.20   [no charge]

               WGL Prepare motion and brief on distribution plan (4.4); review e-mails and
                   documents to obtain information needed for brief (1.0); telephone call with Mr.
                   Hill and Mr. Hart to go over contested claims and other issues (0.8)                     6.20     2,170.00

05/07/2020     BJ     Finalize Receiver's Motion to Approve Plan Distribution with Brief in Support;
                      finalize exhibits to Al Hill's Declaration including redacting account numbers
                      and personal information; e-file same.                                                0.70         136.50
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                                                                                    Statement Date:     06/12/2020
                                                                                    Statement No.       591723
        US District Court - Northern District of Georgi                             Account No.       76031.0001

                                                                                                             Hours
              WGL Prepare motion and brief on distribution plan (3.5); review proofs of claim for
                  contested matters and analysis by Mr. Hart and Mr. Hill regarding same (0.8);
                  multiple e-mails with Mr. Hill, Mr. Goldberg, and Mr. Hart regarding same (0.7);
                  prepare Hill declaration (2.3); review suggested edits to brief and declaration
                  from Mr. Hart and Mr. Hill and revise brief and declaration (0.6); assemble and
                  review exhibits for personal information to be redacted (0.5); multiple e-mails
                  with Ms. Jones regarding redactions and filing motion and declaration with
                  exhibits (0.3); review redactions for accuracy and e-mail Ms. Jones regarding
                  same (0.2); multiple e-mails with Mr. Hill and Mr. Hart regarding additional
                  evidence regarding contested claims (0.2); prepare e-mails to Mr. Councill and
                  Mr. Sadow attaching motion and brief, and review response from Mr. Sadow
                  (0.2); prepare e-mail to Mr. Hill regarding same (0.1); multiple e-mails with Mr.
                  Hill regarding e-mail addresses for investors having contested claims and
                  search for e-mail addresses (0.4); prepare e-mail to Ms. Tomilson regarding
                  same (0.1); prepare e-mails to those investors attaching motion and
                  declaration and informing them of deadline for response and hearing date
                  (0.3); review and revise audit letter response needed by Mr. Rubio and
                  prepare e-mail to Mr. Hill regarding same (0.4)                                            10.60       3,710.00

05/08/2020    LMW (NO CHARGE) Prepare Motion to Approve Plan of Distribution with Brief In
                  Support, received from court, for attorneys' review.                                        0.20   [no charge]

              WGL Review e-mail from Mr. Hill regarding Mr. Sadow's question about source of
                  payment of receivership expenses; prepare e-mail to Mr. Sadow responding to
                  question; review and respond to e-mail from Ms. Tomilson regarding Arjun
                  audit letter response                                                                       0.40        140.00

05/11/2020    WGL Review e-mails from Mr. Sadow and forward same to Mr. Hill; review e-mails
                  from Mr. Rubio and Mr. Hill regarding pending lawsuit by Nieves and Algarin;
                  review terms of receivership order regarding stay of litigation and forward
                  same to Mr. Hill; review and respond to e-mail from Mr. Hart requesting
                  documents from database                                                                     0.60        210.00

05/12/2020    WGL Prepare e-mail to Mr. Rubio and Mr. Hill regarding stay of Nieves/Algarin
                  litigation; review response from Mr. Rubio; review and respond to e-mail from
                  Mr. Hill regarding loan from Arjun to Statim; multiple e-mails with Mr. Hart
                  regarding allocation of expenses among Arjun accounts                                       0.50        175.00

05/13/2020    WGL Review e-mails from Mr. Hill and Mr. Hart regarding Fund performance in
                  recent times; review e-mail from Mr. Hart regarding database search and
                  prepare e-mail to Ms. Jasik regarding same; review and respond to e-mails
                  from Ms. Jasik and review portion of documents downloaded from database;
                  prepare e-mail to Mr. Hart regarding same and review response                               0.80        280.00

              BCJ     Research Relativity database for subscription documents regarding investor
                      Bagirath Majmudar, upload results to ShareFile folder, and send link to Mr.
                      Leonard and Mr. Hart for review                                                         1.60        312.00

05/14/2020    WGL Review and respond to e-mail from Mr. Hart regarding payments made to
                  Arjun investor; review and respond to e-mail from Mr. Sadow regarding
                  information requested                                                                       0.30        105.00


                                                                                                              Page   2
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                                                                                            Statement No.        591723
        US District Court - Northern District of Georgi                                     Account No.        76031.0001

                                                                                                                      Hours

05/18/2020    WGL Review multiple e-mails from Mr. Sadow with questions regarding receivership
                  assets and expenses (0.2); evaluate responses and multiple e-mails with Mr.
                  Hart and Mr. Hill regarding same (0.5); gather information from prior e-mails
                  and prepare draft response to Mr. Sadow (0.4); multiple e-mails with Mr. Hill
                  and Mr. Hart regarding same (0.4); send final version of e-mail to Mr. Sadow
                  (0.1); review multiple e-mails from Mr. Hart and attachments relating to
                  payments by Arjun to Mr. Majmudar (0.4); prepare e-mail to Mr. Goldberg
                  regarding checks and deposit records needed from BB&T, and review
                  response (0.1)                                                                                       2.10         735.00

05/19/2020    WGL Review and respond to e-mail from Mr. Hill regarding possible reduction of
                  interest rate charged to borrowers on smaller loans                                                  0.20          70.00

05/21/2020    WGL Telephone call from Mr. Hill regarding loan by Mr. Majmudar to Statim; review
                  and respond to e-mail from Mr. Hill regarding subpoena power and
                  depositions; review notes of database documents; prepare e-mail to Ms. Jasik
                  regarding search of database and review response                                                     0.80         280.00

05/22/2020    WGL Multiple e-mails with Ms. Jasik and Mr. Hill regarding database search (0.4);
                  review search results (0.4); multiple e-mails with Mr. Hart regarding same (0.2)                     0.80         280.00

              BCJ     Conduct search of Relativity database regarding documents evidencing loan
                      made to Statim by investor Bagirath Majmudar                                                     1.10         214.50

05/27/2020    WGL Review e-mails from Mr. Hart and Mr. Pringle regarding documents needed
                  and work on financial statements                                                                     0.20          70.00

05/30/2020    WGL Review e-mail from Mr. Hart regarding financial information requested by Mr.
                  Sadow; prepare e-mail to Mr. Sadow regarding same and review response                                0.40         140.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                              37.20       12,493.00
                      TOTAL NO CHARGE HOURS                                                                            0.40

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate            Total
                William G. Leonard                                             33.80            $350.00       $11,830.00
                Brandy Jones                                                     0.70            195.00           136.50
                Bonnie Jasik                                                     2.70            195.00           526.50


                      TOTAL CURRENT FEES AND COSTS                                                                                12,493.00

05/26/2020            Payment. Thank you. Check No. 995026 - US District (Al Hill)                                            -12,480.52


                      Balance Due.................................                                                            $20,637.51

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           05/08/2020                585099                         8,144.51          8,144.51
                                                                                                      8,144.51

                                                                                                                       Page   3
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                                                                         Statement Date:     06/12/2020
                                                                         Statement No.       591723
US District Court - Northern District of Georgi                          Account No.       76031.0001




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                                                                                                   Page   4
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         US District Court - Northern District of Georgia                            Statement Date:      June 12, 2020
         c/o Al B. Hill                                                                Statement No.            591724
         1600 Parkwood Circle                                                            Account No.       76031.0003
         Suite 200                                                                    Federal ID No.         201310229
         Atlanta, GA 30339




      Statim Holdings - Assisting Receiver in
      Fulfillment Duties



                      PREVIOUS BALANCE BROUGHT FORWARD                                                              $14,428.01

                                                                                                            Hours

05/07/2020    BJG     Review Arjun/Statim accounts to determine amounts in CDs and Treasury
                      Notes. Telephone conference w/ A. Hill to discuss available cash and
                      distributable cash.                                                                    0.80         280.00

05/18/2020    BJG     Review email from B. Leonard regarding BB&T accounts and request for
                      copies of checks and payments. Lengthy telephone conferences w/ BB&T
                      customer service representatives regarding payment/check request.                      0.50         175.00

05/22/2020    BJG     Emails to banks regarding April account statements. Telephone conference w/
                      BMO customer service regarding access to Arjun accounts. Exchange emails
                      w/ S. Ha (First IC Bank) regarding account statements.                                 0.50         175.00

05/29/2020    BJG     Exchange emails w/ DCCU customer service regarding account statements.
                      Obtain statements. Email statements to J. Hart.                                        0.20          70.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                     2.00         700.00

                                                            FEE SUMMARY
                Timekeeper                                            Hours              Rate            Total
                Bob J. Goldberg                                         2.00          $350.00          $700.00


05/27/2020            Fee paid to Ricoh - invoice # ATL20050051 relativity user fee and web hosting                       520.51
                      TOTAL EXPENSES/COSTS ADVANCED                                                                       520.51

                      TOTAL CURRENT FEES AND COSTS                                                                    1,220.51

05/26/2020            Payment. Thank you. Check No. 995026 - US District (Al Hill)                                   -7,456.00
            Case 1:18-cv-05868-LMM Document 136 Filed 07/20/20 Page 27 of 98
                                                                                    Statement Date:     06/12/2020
                                                                                    Statement No.       591724
US District Court - Northern District of Georgi                                     Account No.       76031.0003

              Balance Due.................................                                                               $8,192.52

                                                         Aged Due Amounts
                   Stmt Date                 Stmt #                            Billed             Due
                   05/08/2020                585100                         6,972.01          6,972.01
                                                                                              6,972.01




                                        Attorney-Client Privileged Communication

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                                     Payment questions: 678-336-7258 - Kim Zaring
                                     Billing questions: kzaring@taylorenglish.com
                                                                                                              Page   2
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   US District Court - Northern District of Georgia                                  Statement Date: 06/12/2020
   c/o Al B. Hill                                                                        Account No.    76031.0
   1600 Parkwood Circle
   Suite 200
   Atlanta, GA 30339



                                                  Cover Statement

                                          STATEMENT         SUMMARY




                             Previous Balance               Fees        Expenses            Payments               Balance

76031-0000 Statim Holdings - Activities of Receiver
                                    42,073.56           9,340.00        14,300.00          -14,300.00         $51,413.56

76031-0001 Statim Holdings - Counsel to Receiver
                                 20,625.03             12,493.00             0.00          -12,480.52         $20,637.51

76031-0003
                   Statim Holdings - Assisting Receiver in
                   Fulfillment Duties
                                      14,428.01            700.00         520.51            -7,456.00             $8,192.52

                                     77,126.60         22,533.00        14,820.51          -34,236.52         $80,243.59




                                     Attorney-Client Privileged Communication

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                                   Payment questions: 678-336-7258 - Kim Zaring
                                   Billing questions: kzaring@taylorenglish.com
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         US District Court - Northern District of Georgia                             Statement Date:   July 13, 2020
         c/o Al B. Hill                                                                 Statement No.         596455
         1600 Parkwood Circle                                                             Account No.    76031.0000
         Suite 200                                                                     Federal ID No.     201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Activities of Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                           $51,413.56

                                                                                                        Hours
06/01/2020     ABH    Review correspondence with J. Hart regarding responses to claims.                  0.30           127.50

06/02/2020     ABH    Respond to inquiry from S. Sadow regarding market returns; calculate
                      investment returns for sample account; telephone conference with J. Hart.           1.70          722.50

06/03/2020     ABH    Analyze investor returns; telephone conference with J. Hart regarding return
                      calculations; telephone conference with Sonjoy and Ramchandani; telephone
                      conference with S. Sadow; summarize and send investor returns and
                      investment detail.                                                                  4.20      1,785.00

06/05/2020     ABH    Review pleading/objections from B. Barber; telephone conference with B.
                      Leonard; confirm penalty claims for J. Hart.                                        0.70          297.50

06/09/2020     ABH    Telephone conference with J. Hart regarding response to questions from S.
                      Councill and review of potential further claims; correspondence with Mr. Kundu
                      and Mr. Delawalla regarding tax documents and claim process; analyze past
                      returns compared with fund expenses; multiple inquiries from S. Councill;
                      review and pay bills for Panoptic and Rubio.                                        4.10      1,742.50

06/10/2020     ABH    Review objections to distribution plan; telephone conference with B. Leonard
                      regarding Barber objection; miscellaneous accounting duties, including
                      payment of Rubio invoice; review year-end list of investor accounts.                1.10          467.50

06/12/2020     ABH    Review tax returns and sign e-file authorizations; make payment to Oregon;
                      review Barber analysis.                                                             0.90          382.50

06/15/2020     ABH    Review tax filing and pay partnership tax to State of Oregon; telephone
                      conference with S. Laskar.                                                          0.40          170.00

06/18/2020     ABH    Review correspondence from investors regarding S. Councill objections;
                      planning session with B. Leonard.                                                   0.70          297.50
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                                                                                             Statement Date:      07/13/2020
                                                                                             Statement No.        596455
        US District Court - Northern District of Georgi                                      Account No.        76031.0000

                                                                                                                       Hours

06/19/2020    ABH     Telephone conference with M. Hamblin.                                                             0.30         127.50

06/22/2020    ABH     Review objection filed by B. Majmudar; telephone conference with Mr. Hart
                      and Mr. Leonard; summarize all claims in order to analyze demand by B.
                      Majmudar; obtain and review 2019 quickbooks records.                                              3.80        1,615.00

              LMW Revise e-mail addresses for e-mail blast; send out e-mail to investors
                  regarding status of receivership.                                                                     1.00         195.00

06/23/2020    ABH     Telephone conference with J. Mayes (SEC); review Supreme Court ruling
                      regarding disgorgement.                                                                           1.20         510.00

              LMW (NO CHARGE) Prepare Amended Motion for Extension of Time to File a
                  Response to Objections, received from court, for attorneys' review.                                   0.20   [no charge]

06/24/2020    LMW (NO CHARGE) Prepare e-mail blast to investors regarding status of
                  receivership for attorneys' review.                                                                   0.20   [no charge]

06/26/2020    ABH     Review status of bank statements; review pleading update from S. Councill;
                      analyze claim of B. Barber.                                                                       0.60         255.00

06/29/2020    ABH     Review April and May account statements; various correspondence with B.
                      Leonard regarding response to objections to distribution plan; telephone
                      conference with V. Bahl.                                                                          2.40        1,020.00

06/30/2020    ABH     Review and comment on motion regarding objections to distribution plan and
                      related affidavits; review historical correspondence from penalty claimants;
                      telephone conference with V. Bahl; telephone conference with B.Leonard.                           1.90         807.50
                      FOR PROFESSIONAL SERVICES RENDERED                                                               25.30       10,522.50
                      TOTAL NO CHARGE HOURS                                                                             0.40

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours                Rate            Total
                Al Hill                                                        24.30             $425.00       $10,327.50
                L. Mylane Wilson                                                 1.00             195.00           195.00


                      TOTAL CURRENT FEES AND COSTS                                                                                 10,522.50


                      Balance Due.................................                                                             $61,936.06

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                             Billed             Due
                           02/06/2020                569389                          5,161.25          5,161.25
                           03/09/2020                574690                          3,832.50          3,832.50
                           04/17/2020                582839                         13,991.81         13,991.81
                           05/08/2020                585098                         19,088.00          4,788.00
                           06/12/2020                591722                         23,640.00         23,640.00
                                                                                                      51,413.56

                                                                                                                        Page   2
            Case 1:18-cv-05868-LMM Document 136 Filed 07/20/20 Page 31 of 98
                                                                         Statement Date:     07/13/2020
                                                                         Statement No.       596455
US District Court - Northern District of Georgi                          Account No.       76031.0000




                                    Attorney-Client Privileged Communication

                         Please send payment within 15 days of receiving this invoice

                               Please access our secure online payment portal at
                                       https://taylorenglishbilling.com.

                                 Payment questions: 678-336-7258 - Kim Zaring
                                 Billing questions: kzaring@taylorenglish.com
                                                                                                   Page   3
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         US District Court - Northern District of Georgia                              Statement Date:   July 13, 2020
         c/o Al B. Hill                                                                  Statement No.         596456
         1600 Parkwood Circle                                                              Account No.    76031.0001
         Suite 200                                                                      Federal ID No.     201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Counsel to Receiver


                      PREVIOUS BALANCE BROUGHT FORWARD                                                            $20,637.51

                                                                                                         Hours
06/01/2020     WGL Review and respond to e-mail from Mr. Hart regarding upcoming court
                   deadlines (0.1); review e-mail from Mr. Sadow and attached operating
                   agreement of Statim Holdings, LLC (0.4); prepare e-mail to Mr. Hill regarding
                   same (0.1); review second e-mail from Mr. Sadow regarding return of
                   penalties to investors and exchange e-mails with Mr. Hill regarding same (0.2);
                   telephone call with Mr. Hill regarding issues raised by Mr. Sadow (0.2); review
                   e-mails from Mr. Hill and Mr. Hart regarding effect of refund of penalties (0.2)        1.20          420.00

06/02/2020     WGL Multiple e-mails with Mr. Hill regarding Sadow request for investor returns
                   referenced in Hill Declaration (0.3); telephone call from Mr. Hill regarding
                   same (0.1); review e-mail from Mr. Hill and attached analysis of profitability of
                   Havriluck accounts (0.2); review e-mails from Mr. Hart and attached
                   examinations of returns for random sample of investors (0.4); review e-mail
                   from Mr. Sadow requesting disclosure of amounts invested by each Arjun
                   investor (0.1)                                                                          1.10          385.00

06/03/2020     WGL Review and respond to e-mail from Mr. Hill regarding service of proposed plan
                   on current investors (0.1); review Mr. Hart's analysis of random investor
                   returns and prepare e-mail to Mr. Hill regarding same (0.3); review e-mails
                   regarding effect of refund of penalties and prepare e-mail to Mr. Sadow
                   regarding same (0.3); review e-mail from Mr. Hart regarding AFA analysis of
                   returns for entire Arjun account and prepare e-mail to Mr. Hill regarding same
                   (0.2); telephone call from Mr. Hill regarding same (0.1); review court filings to
                   determine whether current investor accounts were disclosed and prepare
                   e-mail to Mr. Hill regarding same (0.2); review e-mail from Mr. Hill to Mr.
                   Sadow with data on returns of randomly selected investors (0.1)                         1.30          455.00

06/05/2020     WGL Telephone call from Mr. Hill regarding objection received from Dr. Butler;
                   review e-mail from Mr. Hill to Dr. Butler; review multiple e-mails from Mr. Hill
                   and Mr. Hart regarding identification of investors who were assessed penalties
                   and other issues                                                                        0.60          210.00
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                                                                                     Statement Date:      07/13/2020
                                                                                     Statement No.        596456
        US District Court - Northern District of Georgi                              Account No.        76031.0001

                                                                                                               Hours

06/08/2020    WGL Review e-mail from Dr. Skandalakis; review prior compilation of penalty
                  amounts; prepare response to Dr. Skandalakis; exchange e-mails with Dr.
                  Barber; telephone call with Dr. Barber regarding his objection; review e-mail
                  from Mr. Councill seeking information and forward declaration to Mr. Hill;
                  review e-mail from Ms. Mak seeking K-1 forms                                                  0.90       315.00

06/09/2020    LMW (NO CHARGE) Prepare Motion for Extension of Time, received from court, for
                  attorneys' review.                                                                            0.20   [no charge]

              WGL Review and respond to e-mails from Mr. Councill regarding extension of time
                  to file objection to proposed distribution plan; review e-mail from Mr. Hill to Ms.
                  Mak regarding K-1 forms; review multiple e-mails from Mr. Hill, Mr. Rubio, and
                  Mr. Hart regarding checks requested by Mr. Councill and related documents                     0.80       280.00

06/10/2020    WGL Prepare e-mail to Dr. Barber attaching Notice of Filing Investor Objection, and
                  review response; review objection filed by Mr. Sadow; review multiple e-mails
                  from Mr. Hill and Mr. Hart regarding objections, financial information needed
                  from TPAs, and other issues                                                                   0.50       175.00

              LMW Revisions to and finalize Notice of Filing Investor Objection; prepare same for
                  e-filing; e-file and service of same.                                                         0.90       175.50

06/11/2020    WGL Review fax from Dr. Barber; prepare e-mail to Mr. Hill and Mr. Hart regarding
                  same; review multiple e-mails from Mr. Hart regarding analysis of Barber
                  accounts                                                                                      0.50       175.00

06/15/2020    LMW (NO CHARGE) Prepare Motion for Leave to File Response to Objections to
                  Receiver's Motion to Approve Plan of Distribution, received from court, for
                  attorneys' review.                                                                            0.20   [no charge]

              WGL Review SEC motion for permission to file response to objections to distribution
                  plan                                                                                          0.20        70.00

06/17/2020    LMW (NO CHARGE) Prepare Leave of Absence of Bill Leonard, received from
                  court, for attorneys' review.                                                                 0.20   [no charge]

06/18/2020    WGL Telephone call from Mr. Hill regarding updating website, deadlines, and
                  objections (0.2); review Statim website and select additional court filings to
                  upload (0.4); prepare e-mails to Mr. Trimble regarding same (0.3); review
                  objection of Dr. Majmudar and exhibits (0.4); telephone call with Mr. Councill
                  regarding same (0.4); multiple e-mails with Mr. Hill and Mr. Hart regarding
                  Majmudar objection (0.3); prepare e-mail to Mr. Mayes and Ms. Murnahan
                  regarding research (0.1)                                                                      2.10       735.00

              SKT     Messages with B. Leonard regarding need to update website.                                0.30       105.00

06/20/2020    WGL Multiple e-mails with Mr. Trimble and Mr. Hill regarding updates to website;
                  review posted updates and links to relevant documents                                         0.20        70.00




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                                                                                       Statement No.      596456
        US District Court - Northern District of Georgi                                Account No.      76031.0001

                                                                                                               Hours
              SKT     Update website to provide notice regarding proposed plan to distribute the
                      assets of the receivership and related objections; format and finalize related
                      attachments; messages with A. Hill and B. Leonard regarding same.                         1.30        455.00

06/22/2020    WGL Review Mr. Hill's draft e-mail to current Arjun investors and prepare response
                  (0.1); telephone call with Mr. Hill regarding potential witness interviews and
                  response to objections (0.3); telephone call with Mr. Hill and Mr. Hart
                  regarding objection of Dr. Majmudar (0.8); prepare e-mail to Mr. Mayes and
                  Ms. Murnahan regarding same and review response from Mr. Mayes (0.2);
                  prepare e-mail to Mr. Councill to clarify his position on claims of Dr. Majmudar
                  (0.2); review new Supreme Court decision on disgorgement (0.6); review
                  e-mail from Mr. Hart and attached spreadsheet regarding Dr. Majmudar's
                  investments (0.2); multiple e-mails with Mr. Hart regarding same (0.2)                        2.60        910.00

06/23/2020    WGL Conference call with Mr. Mayes and Mr. Hill (0.5); prepare e-mails to Mr. Hill
                  and Mr. Mayes regarding contact with Mr. Robinson (0.2); Internet research
                  regarding Mr. Robinson and prepare e-mail to him (0.2); review and respond
                  to e-mail from Mr. Hart regarding analysis of objection by Dr. Barber (0.1);
                  review prior motion and brief regarding approval of distribution plan (0.4);
                  begin preparation of response to objections (0.4)                                             1.80        630.00

06/24/2020    LMW (NO CHARGE) Prepare Order granting Plaintiff's Amended Mtn./Extension,
                  etc., received from court, for attorneys' review.                                             0.20   [no charge]

              WGL Review and respond to e-mail from Mr. Robinson regarding telephone
                  conference (0.1); review and respond to e-mail from Ms. Bryant (deputy clerk)
                  regarding SEC motion for additional time, and review responses of other
                  counsel (0.2); review signed order extending time and prepare e-mail to Mr.
                  Hill regarding same (0.1); prepare response brief to address objections (2.2);
                  research regarding penalty v. liquidated damages (0.7); review PPM, limited
                  partnership agreement, and subscription agreement relating to early
                  withdrawal and loans (0.6); review e-mails from Mr. Goldberg including
                  response e-mail from BB&T representative (0.2); review receivership order
                  and prepare e-mail to Mr. Goldberg and Mr. Hill with draft response to BB&T
                  (0.5); review and respond to e-mails from Mr. Goldberg regarding same and
                  review positive response from BB&T representative (0.2); prepare e-mail to
                  Mr. Robinson (0.1)                                                                            4.90       1,715.00

06/25/2020    WGL Continue preparation of brief in response to objections                                       1.50        525.00

06/26/2020    LMW (NO CHARGE) Prepare Notice by Bhagirath Majmudar, Nija Meyer of Change
                  of Address, received from court, for attorneys' review.                                       0.20   [no charge]

              WGL Prepare response brief on objections (1.4); review spreadsheets and prior
                  e-mails regarding Majmudar accounts (0.6); multiple e-mails with Mr. Hart
                  regarding same (0.5); prepare e-mail to Mr. Hill regarding status of work on
                  brief (0.1)                                                                                   2.60        910.00

06/27/2020    SKT     Review message from hosting company regarding renewal of site domain.                     0.20         70.00




                                                                                                                Page   3
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                                                                                             Statement Date:      07/13/2020
                                                                                             Statement No.        596456
        US District Court - Northern District of Georgi                                      Account No.        76031.0001

                                                                                                                       Hours
              WGL Telephone call from Mr. Hill regarding Dr. Sherman; telephone call to Dr.
                  Sherman regarding his account; multiple e-mails with Dr. Sherman and review
                  documents he sent                                                                                     0.80         280.00

06/29/2020    WGL Review prior e-mails from Mr. Hart and analysis of Majmudar accounts (0.6);
                  review objection of Dr. Majmudar (0.4); multiple e-mails with Mr. Hart
                  regarding same (0.4); multiple e-mails with Mr. Hill regarding communications
                  with investors (0.2); prepare response to objections (1.8); research regarding
                  same (0.6); telephone calls to and from Mr. Robinson (0.3); prepare e-mail to
                  and telephone call from Mr. Bahl regarding his investor account (0.6); prepare
                  declaration of Mr. Bahl and forward same for his review (0.5); prepare
                  declaration of Dr. Sherman, exchange multiple e-mails with Dr. Sherman
                  regarding same, and revise his declaration (0.8)                                                      6.20        2,170.00

06/30/2020    WGL Review e-mails from Dr. Sherman and revised declaration and prepare e-mail
                  to Dr. Sherman regarding same (0.2); review and revise brief (0.5); prepare
                  e-mail to Mr. Hill regarding same and review his response and suggested
                  revisions (0.4); final revision of brief (0.3); prepare declaration of Mr. Hart and
                  forward same to Mr. Hart by e-mail (0.8); multiple e-mails with Mr. Hart
                  regarding same (0.2); telephone call from Mr. Hill regarding Bahl declaration
                  (0.2); review e-mail from Mr. Bahl regarding same (0.1); revise declaration and
                  prepare e-mail to Mr. Bahl regarding same (0.4); review response e-mail from
                  Mr. Bahl (0.1); multiple e-mails with Mr. Hill regarding Sherman declaration
                  (0.2); search documents for exhibits to response brief (0.4); prepare e-mail to
                  Mr. Hill and Mr. Hart regarding limited partnership agreement and review
                  responses from Mr. Hill (0.2); prepare e-mail to Ms. Jones regarding filing of
                  brief and exhibits and review response (0.2)                                                          4.20        1,470.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                               36.70       12,705.50
                      TOTAL NO CHARGE HOURS                                                                             1.00

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours                Rate            Total
                William G. Leonard                                             34.00             $350.00       $11,900.00
                Seth K. Trimble                                                  1.80             350.00           630.00
                L. Mylane Wilson                                                 0.90             195.00           175.50


                      TOTAL CURRENT FEES AND COSTS                                                                                 12,705.50


                      Balance Due.................................                                                             $33,343.01

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                             Billed             Due
                           05/08/2020                585099                          8,144.51          8,144.51
                           06/12/2020                591723                         12,493.00         12,493.00
                                                                                                      20,637.51




                                                                                                                        Page   4
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                                                                         Statement Date:     07/13/2020
                                                                         Statement No.       596456
US District Court - Northern District of Georgi                          Account No.       76031.0001




                                    Attorney-Client Privileged Communication

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                                 Payment questions: 678-336-7258 - Kim Zaring
                                 Billing questions: kzaring@taylorenglish.com
                                                                                                   Page   5
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         US District Court - Northern District of Georgia                             Statement Date:   July 13, 2020
         c/o Al B. Hill                                                                 Statement No.         596457
         1600 Parkwood Circle                                                             Account No.    76031.0002
         Suite 200                                                                     Federal ID No.     201310229
         Atlanta, GA 30339



         Re:   Statim Holdings - Litigation


                                                                                                        Hours
06/10/2020     LMW (NO CHARGE) Prepare Response in Opposition re Motion for Order to
                   Approve Plan of Distribution, Notice of Filing Investor Objection, Order
                   Granting Motion for Extension of Time, and Leave of Absence of Steven
                   Howard Sadow for attorneys' review.                                                    0.40   [no charge]

                      TOTAL NO CHARGE HOURS                                                               0.40


                      Balance Due.................................                                                      $0.00




                                                Attorney-Client Privileged Communication

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                                             Payment questions: 678-336-7258 - Kim Zaring
                                             Billing questions: kzaring@taylorenglish.com
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         US District Court - Northern District of Georgia                              Statement Date:   July 13, 2020
         c/o Al B. Hill                                                                  Statement No.         596458
         1600 Parkwood Circle                                                              Account No.    76031.0003
         Suite 200                                                                      Federal ID No.     201310229
         Atlanta, GA 30339




      Statim Holdings - Assisting Receiver in
      Fulfillment Duties



                      PREVIOUS BALANCE BROUGHT FORWARD                                                             $8,192.52

                                                                                                         Hours
06/08/2020    BJG     Review emails from J. Hart and B. Leonard regarding request for copies of
                      cancelled checks drawn on Arjun BB&T account. Draft email to K. Patroni
                      (BB&T) regarding check request.                                                      0.40          140.00

06/09/2020    BJG     Send emails requesting monthly statements. Research regarding new contact
                      at BMO. Compile statements and send to J. Hart.                                      0.60          210.00

06/23/2020    BJG     Research to find Chase point of contact. Review account balances. Review
                      Treasury Direct account balances and maturity dates. Telephone calls to E.
                      Matthews (BMO) regarding account balances and transfer of funds.                     0.50          175.00

06/24/2020    BJG     Research BB&T bank account. Exchange emails w/ K. Patroni (BB&T/Truist)
                      regarding account documents and copies of checks. Exchange emails w/ B.
                      Leonard (co-counsel) regarding account documents and court order.                    0.40          140.00

06/25/2020    BJG     Meeting w/ A. Hill regarding update of Receiver's activities and current status
                      of bank accounts. Research to find appropriate contact person at Chase Bank
                      regarding Arjun accounts.                                                            0.50          175.00

06/26/2020    BJG     Exchange emails w/ S. Nagus re Delta CCU statements. Multiple telephone
                      conferences w/ Chase customer service to identify contact point for account
                      statements and information.                                                          0.50          175.00

06/30/2020    BJ      Finalize exhibits and e-file along with Receiver's Response to Objections to
                      Distribution Plan.                                                                   0.20           39.00
                      FOR PROFESSIONAL SERVICES RENDERED                                                   3.10      1,054.00
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                                                                                            Statement Date:     07/13/2020
                                                                                            Statement No.       596458
        US District Court - Northern District of Georgi                                     Account No.       76031.0003

                                                                     FEE SUMMARY
                Timekeeper                                                     Hours               Rate           Total
                Bob J. Goldberg                                                  2.90           $350.00       $1,015.00
                Brandy Jones                                                     0.20            195.00           39.00


06/25/2020            Fee paid to Ricoh - invoice # ATL20060047 user fees and web hosting                                          520.51
                      TOTAL EXPENSES/COSTS ADVANCED                                                                                520.51

                      TOTAL CURRENT FEES AND COSTS                                                                                1,574.51


                      Balance Due.................................                                                               $9,767.03

                                                                 Aged Due Amounts
                           Stmt Date                 Stmt #                            Billed             Due
                           05/08/2020                585100                         6,972.01          6,972.01
                           06/12/2020                591724                         1,220.51          1,220.51
                                                                                                      8,192.52




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                                             Payment questions: 678-336-7258 - Kim Zaring
                                             Billing questions: kzaring@taylorenglish.com
                                                                                                                      Page   2
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   US District Court - Northern District of Georgia                                  Statement Date: 07/13/2020
   c/o Al B. Hill                                                                        Account No.    76031.0
   1600 Parkwood Circle
   Suite 200
   Atlanta, GA 30339



                                                  Cover Statement

                                          STATEMENT           SUMMARY




                             Previous Balance                Fees       Expenses            Payments               Balance

76031-0000 Statim Holdings - Activities of Receiver
                                    51,413.56           10,522.50            0.00                0.00         $61,936.06

76031-0001 Statim Holdings - Counsel to Receiver
                                 20,637.51              12,705.50            0.00                0.00         $33,343.01

76031-0002 Statim Holdings - Litigation
                                           0.00               0.00           0.00                0.00                $0.00

76031-0003
                   Statim Holdings - Assisting Receiver in
                   Fulfillment Duties
                                      8,192.52             1,054.00       520.51                 0.00             $9,767.03

                                     80,243.59          24,282.00         520.51                 0.00       $105,046.10




                                     Attorney-Client Privileged Communication

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                                 Please access our secure online payment portal at
                                         https://taylorenglishbilling.com.

                                   Payment questions: 678-336-7258 - Kim Zaring
                                   Billing questions: kzaring@taylorenglish.com
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                EXHIBIT B




                               8
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                 Lightfoot Group, LLC
                1862 Independence Sq., Suite B
                    Atlanta, Georgia 30338
                 Telephone No.: 678-320-0079

Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

BILLING WORK CODE SUMMARY- CURRENT BILLING
               (April - June 2020)

LC        LITIGATION CONSULTING

                   Professional     Hours         Billed
                   J Hart             -                 $0.00


AA        ACCOUNTING/AUDITING

                   Professional     Hours         Billed
          Apr - 20 J Hart            65.50        $18,012.50
          May - 20 J Hart            53.40        $14,685.00
          Jun - 20 J Hart            20.90         $5,747.50
                   Totals           139.80        $38,445.00




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                 Lightfoot Group, LLC
               1862 Independence Sq., Suite B
                   Atlanta, Georgia 30338
                Telephone No.: 678-320-0079

Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

     BILLING WORK CODE SUMMARY- CUMULATIVE
                (July 2019 - June 2020)

LC        LITIGATION CONSULTING

                   Professional    Hours          Billed
                   J Hart           17.30          $4,757.50


AA        ACCOUNTING/AUDITING

                   Professional   Hours           Billed
                   J Hart         286.30          $78,732.50
                   P Graham         4.70              $705.00
                   Totals         308.30          $84,195.00




                                                                            Page 2
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                                   Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours      Prof'l                             Description

06/01/20          1.10   J Hart [Accounting/Auditing] Email fm A Hill re JM attorney request re
                                impact of non-payment of proposed penalty payments to former,
                                current investors. Review & review in emailto AH. [.80] Email to
                                Rubio CPA re possible negative tax consequences of not allocating
                                penalty payments to current investors as expense. Receipt reply [.30]
06/02/20          2.30   J Hart [Accounting/Auditing] Telecon fm A Hill re requests by attorney for
                                JM (44 min) [.70] Per request of A Hill, summarize rates of return
                                for random investors for 2016-2019 (Panoptic), and 2007-2015
                                (AFA); sent to A Hill. [1.60]
06/03/20          0.80   J Hart [Accounting/Auditing] Telecon fm A Hill re fund returns. [.30] Per
                                request of A Hill, prepared summary of entire fund rates of return
                                for period May 2007 - Dec 2015 from AFA statements. [.40]
                                Telecon from A Hill re same [.10]
06/05/20          0.60   J Hart [Accounting/Auditing] Email fm A Hill responding to prior request
                                from J Hart re itemization of proposed penalty distribution amounts
                                needed by Rubio CPA for K-1's. [.20] Email to Rubio CPA with
                                detailed list. Email fm Rubio CPA re confirming investors not on
                                proposed list. Email to A Hill w/ query re investors. Reply rec'd
                                fm A Hill. Email to Rubio CPA confirming list. [.40]
06/09/20          2.20   J Hart [Accounting/Auditing] Telecon fm A Hill re investor queries, atty
                                queries re claims. (48 min) [.80] Emails with R Rubio re Arjun K-1's
                                tax return, and same for Statim. Need by Rubio for completed
                                Quickbooks files for Jan - Jun 2019 prior to completion of Statim
                                2019 tax return. [.40] Reply to A Hill telecon requesting check copy
                                payments to NM, & corresponding debits re payments to NM.
                                Prepared list of payments to NM; email to M Pringle, Panoptic
                                confirming related debits. Email to A Hill with attachments replying
                                to his earlier requests. [.70] Email fm A Hill re June 2020 payments
                                out of Citizens Trust; forward info to M Pringle, Panoptic. Emails
                                with A Hill re status of Panoptic investor statements. [.10] Email
                                fm B Goldberg with partial May 2020 bank statements for Statim &
                                Arjun. Fwd Arjun statement to M Pringle, Panoptic [.10] Email fm
                                A Hill re Rubio CPA invoice for Arjun tax return & audit; reply [.10]
06/10/20          1.00   J Hart [Accounting/Auditing] Emails with A Hill re follow-up needed on
                                BMO Harris & Treasury Direct. Telecon A Hill [.10] Email from
                                A Hill re Reply in Opposition to Plan to Distribute from atty for J


                                                                                               Page 3
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                                    Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours      Prof'l                               Description

                                  Meyer. [.20] Emails w/ A Hill & R Rubio re 12-31-19 list of
                                  investor capital accts. Follow-up emails re holdbacks on investor
                                  from 2018. [.20] Emails with A Hill, M Pringle re April 2020
                                  investor statements, including total fund statements. Total fund
                                  statement option not working; unsuccessful attempts to access annual
                                  total fund stmts. [.30] Request to M Pringle for annual stmts for 2016-
                                  2019. Attempts w/ Maria Mak of Panoptic re access to total fund
                                  stmts; telecon w Maria Mak [.10]
06/11/20          0.80   J Hart   [Accounting/Auditing] Email fm W Barber re Objection to Plan to
                                  Distribute. Email fm B Leonard w/ add'l docs re Barber Objection
                                  & allegation of stolen funds. [.50] Detailed email to A Hill and B
                                  Leonard re net income/loss from Barber Account Analysis for years
                                  2008-2013 equaled alleged stolen funds, with bulk of loss having
                                  occurred in 2008. [.30]
06/18/20          2.90   J Hart   [Accounting/Auditing] Telecon fm A Hill re Objection claim recd
                                  from investor #186280 and #186390. (9 min) [.10] Receipt of email
                                  fm B Leonard with objection & attachments. Per request of A Hill,
                                  review objection & attachments. [1.20] Review other related docs:
                                  PC Sheets, Investor Account Analysis, BB&T check registers and
                                  bank statements. [1.40] Email fm M Pringle receipt May 2020
                                  accounting documents [.20]
06/22/20          2.40   J Hart   [Accounting/Auditing] Telecon fm A Hill, B Leonard re Objection
                                  to Accts #186280, #186390. (51 min.) [.80] Receipt current Plan
                                  Distribution spreadsheet from A Hill; reconcile to Panoptic's PC
                                  Sheet at 12-1-19 (Liability Holdbacks). Email A Hill re same [.50]
                                  Per A Hill request, prepare analysis of Arjun net income, losses &
                                  50% sharing by Statim & 100% loss guarantee & impact on Statim
                                  capital account in Arjun during Oct 2018 - Jun 2019 period. Email
                                  to A Hill, B Leonard with explanation & summary. [1.10]
06/22/20          1.70   J Hart   [Accounting/Auditing] Prepare May 2020 SFAR [1.70]
06/22/20          0.70   J Hart   [Accounting/Auditing] Per A Hill request, prepared hypothetical
                                  Plan Distribution payout percentage assuming recovery of #186280
                                  & Statim's cash. Sent to A Hill via email. [.70]
06/23/20          0.90   J Hart   [Accounting/Auditing] Emails with R Rubio, A Hill re incomplete
                                  Quickbooks file rec'd for Statim in Oct 2019 was incomplete; not
                                  useful in prep of 2019 Statim tax return. [.20] Per request of A Hill,


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                                     Lightfoot Group, LLC
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                              Telephone No.: 678-320-0079
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                                   prepare summary of rate of return on W Barber joint account, with
                                   comparison to S&P 500. [.30] Multiple emails A Hill, R Rubio re
                                   alternatives for Statim Quickbooks file; sent suggestions. [.20]
                                   Telecon w/ R Rubio re alternatives for lack of QB files. Email to
                                   A Hill re suggested alternatives. [.20]

06/26/20          0.80    J Hart [Accounting/Auditing] Email from B Leonard re request for copies
                                 of promissory notes from B Majmudar to Statim Holdings. Found &
                                 sent. [.20] Emails from B Leonard re activity in account #186390 and
                                 related discussion in the receiver's proposed Distribution Plan.
                                 Reviewed/responsed to query. [.40] Additional emails B Leonard
                                 re description of activity. 0.20]
06/29/20          1.60    J Hart [Accounting/Auditing] Six emails from B Leonard re Objection filed
                                 & activity in accounts: #186280, #186280-Loan, #186390, #186390-
                                 Loan. Researching & replying to queries & follow-up queries. Found
                                 & sent copies of 2019 Statim payments to investor BM. [1.60]
06/30/20          1.10    J Hart [Accounting/Auditing] Receipt, review & make changes to J Hart
                                 declaration re objections to claims, and receiver's response to
                                 objections; emailed to B Leonard. [1.10]

                 20.90             June 2020 - Accounting/Auditing, Total Hours, James Hart
                 20.90             June 2020 - Total Hours, James Hart
              $5,747.50            June 2020 - Accounting/Auditing, Total Billed, James Hart
              $5,747.50            June 2020 - Total Billed, James Hart


                 20.90             Total Hours, Accounting/Auditing, James Hart
                 20.90             Total Hours, James Hart
              $5,747.50            Total Billing, Accounting/Auditing, James Hart
              $5,747.50            Total Billing, James Hart




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05/01/20          1.30   J Hart [Accounting/Auditing] Email w A Hill re further follow-up needed
                                KR &DR Account Analysis re claimed non-receipt of loans
                                identified in account records. Revised Acct Analysis & highlighted
                                queries in added Comments section. Emails with M Pringle of
                                Panoptic requesting disposition/payee of specific loans/withdrawals
                                shown on Account Analysis. [.50] Receipt/review of emails from M
                                Pringle re items queried in emails. Reviewed attachments, comments.
                                Two emails to A Hill re status of queried items, and need to request
                                copy of investment management agreement between KR & DR &
                                 Statim Holdings. [.80]
05/01/20          3.30   J Hart [Accounting/Auditing] Six emails w Rubio CPA re separate invest-
                                ment management agreement with KR &DR/Statim including emails,
                                prior references; agreement with other investors. [.30] Receipt of
                                multiple Redemption Request documents from J Lambert/Panoptic.
                                Emails to A Hill re items received & status update. [.20] Per request
                                of A Hill, further breakdown DR & SR v.2 Account Analysis to
                                show additional details of withdrawals & net new loan activity (i.e.,
                                provide add'l breakdown on aggregated figures provided in v2.2.
                                Created v 2.3 with extra lines of figures in overall summary. Created
                                additional workpaper for derivation (source) of large $581K deposit
                                that went through 5 successive transfers between accounts including
                                loan advances & repayments. Created new overall summary. Email
                                to A Hill re revised v2.3 & workpaper. [2.80]
05/02/20          0.40   J Hart [Accounting/Auditing] Email to A Hill w Redemption Request attach
                                re suggestion for resolving KR & DR claim of non-receipt of loans &
                                account withdrawals & apparent payment of disputed funds to Statim
                                as investment management fees. [.30]
05/04/20          0.80   J Hart [Accounting/Auditing] Email fm B Leonard re questions about POC
                                Summary for BM. Researched each item and provided detailed
                                email response to B Leonard. [.80]
05/06/20          1.30   J Hart [Accounting/Auditing] Telecon fm AH re impact of loans on overall
                                investor returns (w/ & w/o loans) & investor example #186245,
                                #186250. (38 min.) [.60] Also, Pandit (#186080) the investor thinks
                                the capital acct withdrawal went to pay down the loan bal & there
                                wasn't a penalty applied. Researched Pandit acct/loan acct. #186080.
                                Confirmed $30K capital withdrawal & $15K penalty. Detailed email


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 Date         Hours      Prof'l                             Description

                                to AH explaining situation. [.70]
05/06/20          1.10   J Hart [Accounting/Auditing] Per AH request, researched returns assoc with
                                loans on investor VR (#186245, #186250). Prepared analysis of
                                impact of $1million loan on 9-1-17 forward, including account
                                returns, net of interest. [1.10]
05/06/20          1.20   J Hart [Accounting/Auditing] Telecon AH, BL re claims & Distribution Plan
                                v.1. (1 hr, 12 min.) [1.20]
05/06/20          2.80   J Hart [Accounting/Auditing] Per AH request, research investor RC accts
                                #186410 & #186620 re claim amt to be recommended for pmt.
                                Researched accts; determined #186410 funds transferred to #186620.
                                Resolved #186620 is valid claim. [.40] Telecon AH re DR
                                #186565. [.10] Emails AH re SP #186080, RC #186410. [.20]
                                Further analysis of loans on V Reklaitis accts with & without loans
                                (#186245, #186250) back to April 2014. [.80] Receipt of email
                                with updated draft of proposed distributions to investors. Replied
                                to email. [.40] Receipt/review of draft of Brief to be filed re
                                proposed distribution plan. Replied to BL email. [.90]
05/07/20          0.60   J Hart [Accounting/Auditing] Receipt/review/reply numerous emails from
                                AH, BL re: offsetting negative outstanding balance on acct #186190
                                with positive balance on other account, and updated draft of Brief re
                                Distribution Plan.
05/08/20          3.30   J Hart [Accounting/Auditing] AH request to complete prior incomplete
                                BM Draft Account Analysis. Searched all folders for bank registers;
                                bank statements; check copies; requests redemptions, withdrawals,
                                loan requests, loan agreements; subscription agreements & other
                                investor documents to identify activity in BM Account Analysis.
                                Organized all items located. [1.80] Email to M Pringle-Panoptic
                                requesting check registers Jun-Jul 2019, resolution to balances in
                                resolution to balances in #186280 & #186290. Email to B Leonard
                                requesting additional investor documents. Rec'd reply fm M Pringle.
                                Adding detailed information to Account Analysis & footnotes. [1.50]
05/09/20          3.80   J Hart [Accounting/Auditing] Further populating Account Analysis with
                                information regarding deposits, withdrawals, loans in & between
                                capital & loan accounts: #186280, #186280-Loan, #186390, and
                                #186390-Loan.[3.10] Per AH request, started list of canceled checks
                                deposit images for request to BB&T rer Arjun acct #2274. [.70]


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05/11/20          4.90   J Hart [Accounting/Auditing] Email fm AH, forwarding email from J Meyer
                                attorney re allocations of income & expense to limited & general
                                partner. Replied to email re allocation income/loss & performance
                                allocation when applicable. [.40] Subsequent emails from/to AH re
                                income/loss allocations & queries. [.30] Further revisions/updates
                                to BM Account Analysis, acct numbers #186280, #186390. 1.70]
                                Completed inserting transaction details in footnotes to Account
                                Analysis and cross-references between footnotes. [1.30] Added
                                additional canceled checks & deposit items to pending request list
                                to be sent to BB&T re Arjun acct #2274. Added footnote references
                                to BB&T Request list for tracking purposes. [.80] Prepared & sent 2
                                emails w AH, BL re PDF & Excel versions of: BM Account Analysis
                                Footnotes & BB&T Request List. Email to B Goldberg w/ Request
                                List to send to BB&T for copies of checks, deposits. [.40]
05/12/20          1.40   J Hart [Accounting/Auditing] Email fm R Rubio re draft of 12-31-19 finl's.
                                Review & comment back via email including query re change
                                needed in description of fund business. Reply from Rubio re changes
                                to be made, [1.10] Email fm B Leonard re changes in monthly net
                                income since start receivership. Review monthly PC Sheets;
                                summarize; email to B Leonard. [.30]
05/13/20          1.70   J Hart [Accounting/Auditing] Emails Rubio CPA re setting up audit call.
                                Receipt email Bonnie of TAD (for B Leonard) re investor docs for
                                investor BM. [.20] Download 25MB docs from Bonnie-TAD of B
                                M investor docs. Review & extract request forms for withdrawals
                                & loans for period Jun 2017-Jun 2019. [1.10] Email to B Leonard
                                updating 5-11-20 email of post-Jan 2019 Statim Holdings payments
                                to investor BM re identified tax number on Statim check numbers
                                258, 259 to be B Majmudar. Total payments $337,636. [.40]
05/14/20          1.20   J Hart [Accounting/Auditing] Update BM Account Analysis footnotes for
                                investor documents received from TAD (requests for loans &
                                withdrawals); footnotes ver 3. [1.20]
05/18/20          0.20   J Hart [Accounting/Auditing] Emails w B Leonard re reply to J Meyer
                                attorney's queries re allocations of profits & losses to general partner
                                & capital, bank account balances since inception receivership. [.20]
05/20/20          0.20   J Hart [Accounting/Auditing] Reply to emails M Rubio, A Hill re changes
                                to audit report language. [.20]


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05/21/20          1.50   J Hart Email fm A Hill re upcoming telecon. Telecon fm A Hill re BM
                                Account Analysis (42 min.) [.70] Per A Hill request, prepare
                                analysis summarizing net outflows in investor BM accounts between
                                10-31-18 & 6-30-19 closing of accounts. [.80]
05/21/20          1.10   J Hart [Accounting/Auditing] Analyze net losses in 2018-2019 & impact
                                on GP capital & loan accounts.
05/21/20          2.20   J Hart [Accounting/Auditing] Per A Hill request, begin additional analysis
                                and extending Account Analysis back to inception in 2007 from
                                current balances in June 2017, extended: BM-Loan account back
                                to 2013. Prepared BM account back to 2007. Started BM Class A
                                analysis back to Jan 2010. [2.40]
05/22/20          5.10   J Hart [Accounting/Auditing] Emails w B Leonard re 2018 redemptions
                                for investor BM [.20] Continue extending investor BM Account
                                Completed BM, Class A; IRA Class A, 2010; Class A, 2009;
                                Class A, 2011. [2.10] Completed Class A, 2012; Class A, 2013;
                                Class B, 2010; Class B, 2010; Class B, 2011; Class B 2012. [2.80]
05/23/20          4.50   J Hart [Accounting/Auditing] Split Account Analysis into 3 sections: 2007-
                                2011, 2012 - 2015, and 2016 - 2019. [1.40] Identified another BM
                                account on AFA, BM-IRA, completed same. Completed Class B,
                                2013; Class C; IRA Class A, 2013; IRA Class C; #186280;
                                #186280-Loan; #186390 and #186390-Loan. [3.10]
05/24/20          4.10   J Hart [Accounting/Auditing] Using data in Account Analysis, create
                                cumulative summaries of total deposits, withdrawals, income &
                                adjustments for each of 3 parts of Acct Analysis. Prepare one-page
                                summary of cumulative acitivity in each of 16 accounts covering
                                May 2007 through June 2019. [1.80] Create cumulative summary
                                on each page of 3-part Account Analysis identifying net new money
                                invested by BM and identifying withdrawals from BM accounts, not
                                including loans and transfers between accounts. Add to one-page
                                summary of 16 accounts, net new money, less withdrawals [2.30]
05/25/20          1.80   J Hart [Accounting/Auditing] Email fm R Rubio - final draft of audit
                                financials; read same. [.60] Reconciled net new money, less
                                withdrawals to difference, equals net income, including interest
                                expense, net of rounding. Formatted all 3 parts of analysis for
                                printing; with footnotes, total 42 pages. Sent Account Analysis with
                                explanatory email to AH & BL. [1.20]


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05/26/20          0.50    J Hart [Accounting/Auditing] Conf call with R Rubio & A Hill re final
                                 auditor Q&A of 2019 audited financial statements. (28 min) [.50]
05/27/20          0.80    J Hart [Accounting/Auditing] Telecon fm A Hill re revised investor BM
                                 Account Analysis (38 min.) [.70] Follow-up email to A Hill
                                 requesting bank documents, investor documents for Statim & Arjun
                                 for 2018 & prior. [.10]
05/29/20          2.30    J Hart [Accounting/Auditing] Prepare, email SFAR for April 2020. Reply
                                 to B Leonard email of 5-18-20 re atty Sadow requests for balances
                                 for #186590 & Delta Community at 7-9-19 & 4-20-20. [.20]

                 53.40             May 2020 - Accounting/Auditing, Total Hours, James Hart
                 53.40             May 2020 - Total Hours, James Hart
             $14,685.00            May 2020 - Accounting/Auditing, Total Billed, James Hart
             $14,685.00            May 2020 - Total Billed, James Hart


                 53.40             Total Hours, Accounting/Auditing, James Hart
                 53.40             Total Hours, James Hart
             $14,685.00            Total Billing, Accounting/Auditing, James Hart
             $14,685.00            Total Billing, James Hart




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04/01/20          0.40   J Hart [Accounting/Auditing] Email & telecon A Hill re K-1s. Compared
                                random investor K-1s with ending capital account balances on
                                Panoptic PC Sheet at 12-31-19. Email R Rubio re historic manner of
                                distribution of K-1s. [.40]
04/03/20          0.20   J Hart [Accounting/Auditing] Email A Hill requesting analysis of investor
                                accounts of BB & RB, prior investors; 10 attachments. [.20]
04/04/20          0.80   J Hart [Accounting/Auditing] 2 emails fm A Hill re queries from investor
                                TR re K-1's & beneficiary. Reply to emails. Email Rubio CPA re
                                prior K-1s to TR account custodian. [.40] Email reply R Rubio re
                                IRA custodian. Email A Hill re TR IRA custodian. [.20]
                                Email fm A Hill re additional queries from investor TR & follow-up
                                required. Reply to A Hill email. [.20]
04/04/20          3.10   J Hart [Accounting/Auditing] Research & prepare Account Analysis of
                                investors BB & RB, per A Hill request. Analyze 9 accounts in
                                AFA, Opus & Panoptic databases/reports. [3.10]
04/05/20          1.40   J Hart [Accounting/Auditing] Email fm A Hill re add'l work on investor
                                TR queries. [20] Further work on investors BB & RB matching up
                                inter-account transfers; started footnotes. Email to A Hill re on-hold
                                till receipt add'l documents. [1.20]
04/05/20          2.40   J Hart [Accounting/Auditing] Receive 12 emails fm A Hill re investor TR
                                of accounts. [.20] Per A Hill request, review all docs in 12 emails re
                                investor TR. Updated TR account analysis; notes for follow-up.
                                Email to A Hill re items to discuss. [1.90]
04/06/20          1.00   J Hart [Accounting/Auditing] Email receipt Janney Montgomery statement
                                for March 2020. Emails fm A Hill re Statim K-1s. Review files for
                                engagement letters for Arjun & Statim tax returns. Email replies to
                                A Hill re Statim tax return engagement with Rubio CPA. Email to
                                Rubio CPA re estimated receipt Statim K-1s. [.60] Telecon Rich
                                Rubio re Statim tax return & K-1s (14 min) [.20] Email A Hill re
                                Statim tax return status & need to request pre-receiver 2019 data
                                from J Meyer. Email fm A Hill re draft language requesting docs
                                fm J Meyer. [20]
04/07/20          0.70   J Hart [Accounting/Auditing] Email R Rubio re audit confirmation TR [.10].
                                Email B Leonard re Qtrly Report. [.10] Email A Hill re Mar '20
                                Citizens Trust bank statement; forward to M Pringle [.10] Email fm B
                                Goldberg w reply re BMO Harris CD & interest & difference


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                                  previously noted. Detail reply to B Goldberg with specific items to
                                  request from BMO Harris. [.40]
04/07/20          0.30   J Hart   [Accounting/Auditing] Email fm M Pringle re add'l info fr BMO
                                  Harris. [.10] Telecon fm A Hill re K-1's to investor BM & NM &
                                  reply from counsel (9 min); reply to A Hill. [.20]
04/07/20          1.80   J Hart   [Accounting/Auditing] Per request of A Hill, look into K-1's for BM
                                  & NM.: Logged onto Panoptic website; compared April 2019 stmts
                                  to K-1s'. Combined (two) BM K-1s for acct #186390. Prepared
                                  spreadsheet of figures appearing on K-1's versus investor statements.
                                  Identified & summarized differences on two statements/accts. [1.80]
04/07/20          0.70   J Hart   [Accounting/Auditing] Detailed email to Rubio CPA & Matt Pringle
                                  re differences noted. Email reply fm M Pringle re accounting reclass
                                  made in May 2019 (month following April 2019 investor stmts), and
                                  reason why difference existed. M Pringle sent revised April stmts
                                  reflecting pro-rata reclass amounts for investor BM. [.70]
04/08/20          3.20   J Hart   [Accounting/Auditing] email fm A Hill confirming resolution of
                                  investor BM K-1 differences. [.10] Prepare Feb 2020 SFAR; revise
                                  presentation of Janney Montgomery brokerage amounts. [2.90]
                                  Email fm R Rubio re investor DR audit confirmation issue with
                                  attachments. Review & reply to email re check payments made to
                                  Statim Holdings versus investor DR. Telecon A Hill re claims
                                  received to-date, DR audit confirm issue. [.20]
04/09/20          0.90   J Hart   [Accounting/Auditing] Email reply R Rubio re DR check payments
                                  & management fee-related. [.20] Email to A Hill re same. [.10]
                                  Email fm A Hill with attachments re claim of JM. Email to R Rubio
                                  re JM claim & queries. [.20] R Rubio reply re queries investor JM.
                                  Review reply & attachments. [.20] Email to M Pringle, A Hill re
                                  First IC Mar 2020 bank stmt showed one less CD interest payment
                                  compared to the Feb 2020 statement. [.20]
04/10/20          0.60   J Hart   [Accounting/Auditing] Email to A Hill re confirming account info
                                  with retirement account custodians in advance of eventual transfer/
                                  payment. [.10] Email fm R Rubio re confirming treasuries at Treasury
                                  Direct at 12-31-19. Search for Treasury Direct info. Email reply with
                                  1099 info. [.20] Emails with A Hill re requesting $100K from First IC
                                  matured CD & amount of accrued interest to request. Review account
                                  reply to A Hill request. [.30]


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04/11/20          1.40   J Hart [Accounting/Auditing] Email fm A Hill re investor IB & 4 accounts &
                                loan offset. Review email thread with inestor. Summarize 12-31-19
                                account balances. Email to A Hill w suggestion offset 401(k) account
                                balance with 401(k) loan balance. [.40] Per request of A Hill,
                                review rules pertaining to retirement plans & loans. Email to A Hill
                                with 6 attachments & overview of issues. [90] Reply to B Goldberg
                                re First IC Bank & matured $100K CD/interest not in bank acct [.10]
04/15/20          0.50   J Hart [Accounting/Auditing] Email fm A Hill re audit legal letter issue &
                                utility of claims register to auditors. Detailed reply to A Hill re
                                claims register not needed by auditors & reasons why. [.50]
04/16/20          1.30   J Hart [Accounting/Auditing] Email with B Goldberg re obtaining 12-31-19
                                account statement from Treasury Direct. [.20] Email fr A Hill re K-1
                                inquiry fm investor DS. Reply to A Hill re OK forward email to
                                Rubio CPA. [.10] Email to M Pringle re status & any docs needed
                                for completion of Mar 2020 accounting; reply fm Matt. [.10] Use
                                revised (reclass of prepaid legal fees) Jan & Feb 2020 accounting
                                statements & supporting schedules rec'd fm M Pringle to revise
                                Jan & Feb SFARs & reconcile beginning & ending balances. [.90]
04/17/20          2.80   J Hart [Accounting/Auditing] Prepare Mar 2020 SFAR. Send Mar & revised
                                Jan & Feb 2020 SFARs to B Leonard & A Hill. [2.80]
04/20/20          0.20   J Hart [Accounting/Auditing] Email fm AH re payment of Panoptic invoices,
                                discussion of Panoptic legal fees; review & reply [.20].
04/22/20          1.50   J Hart [Accounting/Auditing] Receipt emails/attachments fm A Hill re
                                claims spreadsheet with claims received. Review claims s-sheet &
                                attached docs for BM, NM. [.70] Telecon A Hill re claims rec'd
                                (48 min) [.80]
04/22/20          2.40   J Hart [Accounting/Auditing] Email from E Tomlinson of TAD with copies
                                of Proof of Claims (POC) filed by investors. Per A Hill request start
                                reviewing claims/supporting docs submitted. [2.40]
04/22/20          0.80   J Hart [Accounting/Auditing] Email fm Rich Rubio re audit confirm for
                                investor IB being OK w/ account balances, but disagrees with a loan
                                taken from IRA account. Review & reply to R Rubio. [.20] Email to
                                E Tomlinson with updates to contested claims spreadsheet [.40]
                                Reviewed POC of investor AP. POC complains that penalty amount
                                is wrong, but is pointing to performance allocation number, not penalty
                                amount. Email to A Hill E Tomlinson re same; resolved. [.20]


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04/22/20          2.90   J Hart [Accounting/Auditing] Per request of A Hill create detailed analysis
                                of investor NM's POC involving: Account Analysis, 2019 investment
                                of $231K, payment of over $600K to NM in May/June 2019 by Statim
                                Holdings & Arjun. Create PDFs of check payments to NM. Detailed
                                email with attachments to A Hill & B Leonard re apparent offsets to
                                NM POC and follow-up needed re purpose of payments. [2.90]
04/23/20          2.80   J Hart [Accounting/Auditing] Per A Hill request, review claim of investor
                                BM. Analyzing POC for source of figures included in POC, as some
                                POC numbers weren't tied to supporting documents. Reconciled acct
                                #186280. Support not initially found for loan balance in POC of acct
                                #186390. Prepare summaries of investor BM POCs with references
                                to figures included in POC's. Noted potential offset payments to BM
                                after Jan 2019 purchase of A Units in Statim Holdings. Added
                                detailed footnotes to summary explaining activity, source of numbers,
                                payments to investor BM, loan balance reduction from two different
                                soures, & source of pmts to fund purchase of Units in Statim. [2.80]
04/23/20          1.20   J Hart [Accounting/Auditing] Detailed email A Hill re BM POC Summary
                                pending source of loan balance for #186390. [.40] Telecon from
                                B Hill re attorney letter of 11-22-19 as source of #186390 loan
                                balance. (15 min) [.20] Reviewed prior Account Analysis for BM
                                capital & loan account activity. Found loan balance as the June 2018
                                bal of #186390. Revised BM POC Summary. [.20] Receipt/review
                                of email fm B Leonard with 17 attachments of Investor Docs for
                                investor IB. Start reviewing same. [.40]
04/24/20          1.80   J Hart [Accounting/Auditing] Review investor GI and KI POC & attached
                                spreadsheet of losses due to failure to realize S&P 500 returns.
                                Recomputed spreadsheet for failure to include large loss year of
                                2008 and non-loss year of 2014. Inclusion of 2008 loss year resulted
                                in approximate 76% reduction in purported loss, & 64% with 2014.
                                Detailed email to A Hill replying to POC claim for market under-
                                performance & management fees. [.70] Receipt 2 emails with attachs
                                fr A Hill re investor LS claim. Start reviewing POC & attachments
                                regarding claimed $100K not received by LS. Reviewing docs rec'd.
                                Noted $607K liquidation in investor's IRA Services Trust Co 2013
                                statement. Summarize activity on 2013 IRA Svcs Trust Co stmt re
                                funds withdrawn, losses & balances. Prepared table of withdrawals


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                                    Lightfoot Group, LLC
                             1862 Independence Sq., Suite B
                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours      Prof'l                              Description

                                  & losses of all funds. Prepared & sent detailed email to A Hill re
                                  investor LS POC & related issues. [.90] Emails from A Hill & B
                                  Leonard re investor LS issues. Reply to same. [.20]
04/24/90          0.90   J Hart   [Accounting/Auditing] Received/reviewed LS Schwab statements of
                                  (part of) 2013 & noted receipt of funds transferred from Arjun.
                                  Compared statement activity to investor notes received from A Hill.
                                  Email to A Hill requesting 2014 Schwab statements to compare to
                                  IRA Svcs Trust Co 2014 statements of liquidation & closure of Arjun
                                  account. [.20] Receipt 2014 Schwab statements. Located $100K
                                  transfer from Arjun to Schwab. Emails to A Hil re resolves issue
                                  of non-receipt of $100K. [.10]. Receipt email fm A Hill with
                                  attached memo on investor classes of claims. Reviewed &
                                  commented in reply email [.50] Email reply to A Hill email re need
                                  to confirm liquidation of smaller investor LS accounts & need for
                                  all statements for investor from IRA Svcs Trust Co & Schwab [.10]
04/24/20          2.20   J Hart   [Accounting/Auditing] At request of A Hill, preparing Account
                                  Analysis of investor BH & former husband, JH. Completed Analysis.
                                  Reviewed commentary included with POC & compared to Account
                                  Analysis, matched total loans of $9,800. Detailed email with attachs
                                  to A Hill & B Leonard re BH Account Analysis & POC, with
                                  suggestion for resolution. [2.20]
04/24/20          1.00   J Hart   [Accounting/Auditing] A Hill email with draft copy of 3rd Quarterly
                                  Status report of receiver. Review & comment, update Section C
                                  Financial Status. Reply to A Hill & B Leonard [1.00]
04/26/20          0.30   J Hart   [Accounting/Auditing] Multiple emails with B Leonard re expanding
                                  accrued administrative expenses included in Quarterly Report [.30]
04/27/20          1.60   J Hart   [Accounting/Auditing] Reviewing POCs, updating status of claims
                                  & claim tracker for investors: VB, IB, AP. [.40] Perform detailed
                                  review of all docs/analyses, POC, correspondence, emails for
                                  investor WB. Three amounts claimed, no support for claims. Email
                                  request to A Hill for needed supporting docs. [1.20]
04/27/20          1.20   J Hart   [Accounting/Auditing] Review investor JH (2nd JH) POC & claims,
                                  including 2 detailed spreadsheets comparing accounts to Dow Jones
                                  & computing purported losses. Email to A Hill re overall issues with
                                  market performance claims by investors [.30] Telecon fm A Hill re
                                  market performance & other investor claims, plan for claims &


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                                    Lightfoot Group, LLC
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                                 Atlanta, Georgia 30338
                              Telephone No.: 678-320-0079
Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours      Prof'l                               Description

                                  overall update (31 min) [.50] Follow-up email to A Hill re research
                                  on prior market performance claims by investors. [.20] Review status
                                  of investor LS. Email to E Tomlinson re need POC [.20]
04/27/20          1.30   J Hart   [Accounting/Auditing] Receipt Sharefile from TAD, via B Leonard
                                  re dozens of attachments of Investor Docs for investors DR & KR,
                                  LS and BH. Start downloading & reviewing same. [1.30]
04/27/20          1.90   J Hart   [Accounting/Auditing] Review K-1s for BH; matched account
                                  withdrawals to Account Analysis, except for early termination fees
                                  & loan payoff. Email to A Hill, B Leonard re apparent resolution of
                                  BH claim: early termination fees & loan payoff closed acct. [.80]
                                  Searched through investor documents provided for DR & KR for
                                  documenation concerning loans taken from two 401k account & one
                                  joint acct. Found/downloaded some loan request docs for each acct.
                                  Also found Panoptic investor stmts for 2017 & 2018 showing loan
                                  balances oustanding for each account. [1.10]
04/28/20          1.20   J Hart   [Accounting/Auditing] Research fund documents: Private Placement
                                  Memo, Limited Partnership Agreement, Subscription Agreements,
                                  SEC Complaint for information to assist in evaluation of claims for
                                  market performance losses. Detailed email to A Hill re items to
                                  consider in evaluating general claims for market losses. [1.20]
04/28/20          1.30   J Hart   [Accounting/Auditing] Email fm A Hill re market performance claims.
                                  Review & reply re change in fund docs in August 2009 creating
                                  Classes A - C, all with limited, though guaranteed returns. [.30]
                                  Telecon fm A Hill re claims of investors DR & KR, acceptance of
                                  account balances but ongoing issue with loans taken from acct.; also
                                  investor WB issues. (20 min) [.30] Per A Hill request, send PDFs
                                  of docs found among Investor Docs including requests for loans from
                                  each acct, & Panoptic statements for 2017-2018 showing loans [.20]
                                  Follow-up to A Hill request re investor WB re Account Analysis
                                  showing large losses in 2018 in No Class acct (that preceded Aug
                                  2019 Classes A-C). Large losses not present in large IRA, Class C
                                  account as protected by Class C status. Detailed email to A Hill
                                  with requested attachments. [.30] Email A Hill re large losses in
                                  investor JH (3rd investor with initials JH) in three accounts in 2008,
                                  & this was central to losses recognized throughout term. [.20]



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                                   Lightfoot Group, LLC
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Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours      Prof'l                               Description

04/29/20          2.10   J Hart [Accounting/Auditing] Email request from A Hill to review two
                                Panoptic s-sheets showing change in investor accounts btwn 5-31-19
                                & 12-31-19 bals in proposed distribution plan. Researched diffs in
                                capital & loan account activity in accounts flagged by receiver.
                                Summarized loan account changes (accrued interest expense, loan
                                repayments) and impact on net capital account balance per distrib.
                                Telecon fm A Hill re investor docs of M. Barber. [2.10]
04/29/20          2.70   J Hart [Accounting/Auditing] Email fm A Hill with request to extend DR &
                                SR Account Analysis to inception vs. current draft date of 12-31-15.
                                Issues logging onto Statim Capital website; emails, t/cs A Hill. Used
                                AFA statements back to 2012, Opus s-sheets & Panoptic PC Sheets
                                & Loan Sheets to capture account activity in 13 diff accounts going
                                back to 2012-2013. [2.70]
04/29/20          3.60   J Hart [Accounting/Auditing] Researched & identified amounts involved in
                                transfers between accounts (i.e., trial & error determination of which
                                amounts, when summed, equaled transfers/deposits into & between
                                various accounts). Identified/marked components included in larger
                                transfers between the accounts. Footnoted larger activity items and
                                components of transfers between accts, & items for which additional
                                documentation depositor/payee was needed. Explanatory email to A
                                Hill including overall summary of capital accts less outstanding
                                loans & 12-31-19. []
04/30/20          0.60   J Hart [Accounting/Auditing] Telecon fm A Hill re further work on DR &
                                SR Account Analysis (32 min.) [.50] Email fm A Hill re DR & SR
                                deposit slips & tie-in to Acct Analysis. [.10]
04/30/20          2.60   J Hart [Accounting/Auditing] Per request of A Hill, expand DR & SR Acct
                                Analysis to include identification of inter-account transfers, footnotes
                                for all transfers/deposits and loans, including smaller ones. Created
                                version v2. [2.80]
04/30/20          1.20   J Hart [Accounting/Auditing] Per A Hill request, collapsed Acct Analysis to
                                remove large amount inter-account activity & only show transfers
                                into remaining 3 accounts. Version 2.1 highlighted residual transfers
                                from closed accts to remaining 3 accts (transfers included cumulative
                                net income to-date). Provided overall section that summarized &
                                compared total deposits to ending 12-31-19 bals. [1.30]



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                                     Lightfoot Group, LLC
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Professional Time Summary - Receivership: SEC v. Joseph A. Meyer, Jr. CVN: 1:18-cv-05868

 Date         Hours       Prof'l                              Description

04/30/20          2.70    J Hart [Accounting/Auditing] Prepared version 2.2 that traced all deposits
                                 between accounts, including the impact of successive transfers to the
                                 ultimate deposit of new money (without including cumulative net
                                 income) and without loans from Arjun.


                 65.50             April 2020 - Accounting/Auditing, Total Hours, James Hart
                 65.50             April 2020 - Total Hours, James Hart
             $18,012.50            April 2020 - Accounting/Auditing, Total Billed, James Hart
             $18,012.50            April 2020 - Total Billed, James Hart


                 65.50             Total Hours, Accounting/Auditing, James Hart
                 65.50             Total Hours, James Hart
             $18,012.50            Total Billing, Accounting/Auditing, James Hart
             $18,012.50            Total Billing, James Hart




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                EXHIBIT C




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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 4/01/2020 to 4/30/2020
(Balances Subject to Audit)

FUND ACCOUNTING                                                                                                5/29/2020
                                                                                  Detail       Subtotal       Grand Total
Line 1            Beginning Balance (As of 3/31/2020): (Schedule 1.1)         $27,905,514.54
                  Increases in Fund Balance:
Line 2            Business Income
Line 3            Cash and Securities                                               -$222.29
Line 4            Interest/Dividend Income                                         $3,856.26
Line 5            Business Asset Liquidation
Line 6            Personal Asset Liquidation
Line 7            Third-Party Litigation Income
Line 8            Miscellaneous-Other                                            $26,751.22
                  Total Fund Available (Lines 1-8):                                            $30,385.19    $27,935,899.73
                  Decreases in Fund Balance:
Line 9            Disbursements (Loans) to Investors

Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Sched 10.1)
   Line 10b   Business Asset Expenses                                            -$26,500.00
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses                                                 -$6,018.07
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses
     Line 10f Tax Administrator Fees and Bonds
     Line 10g Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                -$32,518.07
Line 11    Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a Distribution Plan Development Expenses:
              1. Fees:
                   Fund Administrator
                   Consultants
                   Legal Advisors
                  Tax Advisors
              2. Administrative Expenses
              3. Miscellaneous
             Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
              1. Fees:
                  Fund Administrator
             2. Administrative Expenses
             3. Investor Identification:
                  Notice/Publishing Approved Plan
                  Claims Processing
             4. Fund Administrator Bond
             5. Miscellaneous
            Total Plan Implementation Expenses
            Total Disbursement for Distribution Expenses Paid by the Fund
Line 12    Disbursements to Court/Other:
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other:
            Total Funds Disbursed (Line 9-11):                                                                  -$32,518.07
Line 13    Ending Balance (As of 4/30/2010):                                                                 $27,903,381.66
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 4/01/2020 to 4/30/2020
(Balances Subject to Audit)


                                                                                  Detail       Subtotal     Grand Total
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a   Cash & Cash Investments                                                                       $6,257,418.38
   Line 14b   Investments                                                                                  $19,813,039.70
   Line 14c   Other Assets or Uncleared Funds                                                               $1,832,923.58
             Total Ending Balance of Fund - Net Assets                                                     $27,903,381.66

OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail       Subtotal     Grand Total
                  Report of Items NOT to be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    Consultants
                    Legal Advisors
               2. Administrative Expenses
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
    Line 15b        Plan Implementation Expenses Not Paid by the Fund:
                      1. Fees:
                           Fund Administrator
                           Consultants
                           Legal Advisors
                      2. Administrative Expenses
                      3. Investor Indentification:
                          Notice/Publishing Approved Plan
                          Claims Processing
                     4. Fund Administrator Bond
                     5. Miscellaneous
                    Total Plan Implementation Expenses Not Paid by the Fund
    Line 15c        Tax Administrator Fees & Bonds Not Paid by the Fund
                    Total Disbursements for Plan Administration Not Paid by the Fund
Line 16     Disbursements to Court/Other Not Paid by the Fund:
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17           DC & State Tax Payments
Line 18     No. of Claims:
   Line 18a   # of Claims Received This Reporting Period                                                         pending
   Line 18b   # of Claims Received Since Inception of (Receivership)
Line 19     No. of Claimants/Investors:
   Line 19a   # of Claimants/Investors Paid This Reporting Period
   Line 19b   # of Claimants/Investors Paid Since Inception (Receivership)
                                                                             Receiver:
                                                                             By: _____________________________
                                                                                    (signature)
                                                                                 ____________________________
                                                                                   (printed name)

                                                                             Date: ___________________________

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                                                 SCHEDULE 1.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 4/01/2020 to 4/30/2020

                                   DETAIL OF LINE 1, BEGINNING BALANCE

    Entity               Bank /Brokerage Name                Account Number          As of Date     Balance

Arjun, LP         TreasuryDirect-Securities               Arjun #H-448-199-007        03/31/20     (combined)
Arjun, LP         Janney Montgomery-Securities                       4170-7125        03/31/20    $10,380,481.08

Arjun, LP         Treasury Direct, Janney-Accr Interest                See above      03/31/20       $32,313.33

Arjun, LP         Janney Montgomery Scott - Cash                      4170-7125      3/31/2020     $2,305,395.09

Arjun, LP         Accrued Interest - CDs                               multiple       03/31/20        $22,484.04
Arjun, LP         Accrued Interest - CDs                     Janney Montgomery        03/31/20         $2,222.95
Arjun, LP         Loans to Investors                                   multiple       03/31/20     $9,370,091.47

Arjun, LP         BMO Harris (CD)                                    6900598944       03/31/20     $1,250,000.00
Arjun, LP         BMO Harris                                         4824436117       03/31/20             $0.00
Arjun, LP         BMO Harris [1]                                     4824436117       03/31/20        12,690.55

Arjun, LP         Citizens Trust                                      470078581       03/31/20     $1,000,702.34

Arjun, LP         First IC Bank                                             0981      03/31/20      $520,027.66
Arjun, LP         First IC Bank (CD's)                                      1879      03/31/20      $100,000.00
Arjun, LP         First IC Bank (CD's)                                      1882      03/31/20      $100,000.00

                                                                            Arjun, LP Subtotal    $25,096,408.51

Statim Holdings   Delta Community                           0880083132-Bus Savings    03/31/20             $5.00
Statim Holdings   Delta Community                          0880083132-5760731         03/31/20         $1,096.42
Statim Holdings   Delta Community                          0880083132-1789412         03/31/20           $100.00
Statim Holdings   Delta Community                         0880083132-Bus Mon Mkt      03/31/20     $1,023,930.39

Statim Holdings Arjun Capital Acct                                        186590      03/31/20     $1,603,974.22

Statim Holdings Nija Meyer                                Loan to Nija Meyer          03/31/20      $180,000.00

                                                                     Statim Holdings Subtotal      $2,809,106.03

                                                                         Arjun & Statim Total     $27,905,514.54
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                                                               SCHEDULE 3.1

                 STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                                 Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                         Reporting Period 4/01/2020 to 4/30/2020

                                                  DETAIL OF LINE 3, CASH & SECURITIES

 Date            Bank Name        Account Nam Account No.          Ref.       Payor/Payee                   Purpose                   Amount


Apr 2020    Janney Montgomery         Arjun, LP      4170-7125 Deposit    Janney Montgomery Increase in cash Janney                    -$47,592.64
Apr 2020    Janney Montgomery         Arjun, LP      4170-7125 Deposit    Janney Montgomery Change in cash Janney                       $47,592.64
Apr 2020    Treasury Direct, Janney   Arjun, LP   #H-448-199-007 Change   Treasury Direct, Janney Change in market value of account       -$222.29
 4-4-20     First IC                  Arjun, LP            0981 Deposit   First IC                Deposit of matured CD                $100,000.00
 04/04/20   First IC                  Arjun, LP            0981 Change    First IC                Record matured CD                   -$100,000.00
                                                                                                         Arjun, LP Subtotal               -$222.29

                                                                                                    Statim Holding Subtotal                 $0.00

                                                                                                     Arjun & Statim Total                -$222.29
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                                                     SCHEDULE 4.1

             STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                             Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 4/01/2020 to 4/30/2020

                                  DETAIL OF LINE 4, INTEREST/DIVIDEND INCOME

 Date           Bank Name      Account Name Account No.    Ref.      Payor/Payee              Purpose            Amount

04/27/20 First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                        $242.82
04/30/20 First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                        $355.62
Apr 2020 Janney Montgomery    Arjun, LP       4170-7125 Deposit Arjun, LP          Interest                      $2,879.94
                                                                                          Arjun, LP Subtotal     $3,478.38

04/30/20   Delta Community    Statim Holdings 0880083132 Deposit Statim Holdings   Interest                       $377.88
                                                                                      Statim Holdings Subtotal

                                                                                        Arjun & Statim Total     $3,856.26
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                                                        SCHEDULE 8.1

               STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                               Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                       Reporting Period 4/01/2020 to 4/30/2020

                                         DETAIL OF LINE 8, MISCELLANEOUS-OTHER

  Date          Bank Name          Account Name Account No.    Ref.       Payor/Payee           Purpose                  Amount

Apr 2020   TreasuryDirect, Janney Arjun, LP     #H-448-199- Market      Arjun, LP          Change in accrued interest    $10,598.00
Apr 2020   Multiple (CD's)        Arjun, LP     multiple     Interest   Arjun, LP       Change in CD accrued interest   -$13,899.58
Apr 2020   Janney Montgomery-CDsArjun, LP        4170-7125 Interest     Arjun, LP       Change in CD accrued interest       $775.00
4/1/2020   BMO Harris             Arjun, LP                  Interest   Arjun, LP                Add accrued interest    $29,277.80
                                                                                           Arjun, LP Subtotal            $26,751.22

                                                                                             Statim Subtotal                 $0.00

                                                                                          Arjun & Statim Total          $26,751.22
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                                              SCHEDULE 9.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                               Reporting Period 4/01/2020 to 4/30/2020

                     DETAIL OF LINE 9, DISBURSEMENTS (LOANS) TO INVESTORS

Date    Bank Name   Account NameAccount No.    Ref.     Payor/Payee         Purpose     Amount
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                                                       SCHEDULE 10b.1

           STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 4/01/2020 to 4/30/2020

                            DETAIL OF LINE 10b, BUSINESS ASSET AND OPERATING EXPENSES

 Date        Bank Name       Account NameAccount No.     Ref.            Payor/Payee                   Purpose            Amount

04/23/20   Citizens Trust    Arjun, LP    470078581     995021 Rubio CPA                               Accounting Fees -$16,500.00
04/27/20   Citizens Trust    Arjun, LP    470078581 Online Pmt Panoptic Fund Administration                Admin Fees -$10,000.00

                                                                                                   Arjun, LP Total       -$26,500.00

                                                                                              Statim Holdings Total           $0.00

                                                                                              Arjun, LP & Statim Total   -$26,500.00
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                                                     SCHEDULE 10d.1

             STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                             Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 4/01/2020 to 4/30/2020

                                  DETAIL OF LINE 10d, INVESTMENT EXPENSES

  Date         Bank Name     Account Name Account No.      Ref.       Payor/Payee                Purpose               Amount

Apr 2020 Arjun, LP          Arjun, LP      Multiple     Interest   Arjun, LP        Accrual-Investor loan interest    $12,216.86

Apr 2020 Arjun, LP          Arjun, LP      Multiple     Loan PmtsArjun, LP          Investor Loan Payments                 $0.00
                                                                                          Arjun, LP Subtotal          $12,216.86


Apr 2020 Statim Holdings    Statim Holdings 186590      Monthly Arjun, LP           Chg Statim Capital in Arjun, LP   -$18,234.93
                                                                                       Statim Holdings Subtotal       -$18,234.93

                                                                                         Arjun & Statim Total          -$6,018.07
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                                            SCHEDULE 13.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 4/01/2020 to 4/30/2020

                                DETAIL OF LINE 13, ENDING BALANCE

      Entity            Bank /Brokerage Name               Account Number          As of Date     Balance

Arjun, LP          TreasuryDirect-Securities            Arjun #H-448-199-007        04/30/20     (combined)
Arjun, LP          Janney Montgomery-Securities                    4170-7125        04/30/20    $10,430,731.37

Arjun, LP          Treasury Direct, Janney-Accr Inter                See above      04/30/20       $42,911.33

Arjun, LP          Janney Montgomery Scott - Cash                   4170-7125      4/30/2020     $2,257,802.45

Arjun, LP          Accrued Interest - CDs                            multiple       04/30/20         $8,584.46
Arjun, LP          Accrued Interest - CDs                  Janney Montgomery        04/30/20         $2,997.95
Arjun, LP          Loans to Investors                                multiple       04/30/20     $9,382,308.33

Arjun, LP          BMO Harris (CD)                                 6900598944       04/30/20     $1,250,000.00
Arjun, LP          BMO Harris - Accrued Interest                   4824436117       04/30/20        $29,277.80
Arjun, LP          BMO Harris [1]                                  4824436117       04/30/20        12,690.55

Arjun, LP          Citizens Trust                                   470078581       04/30/20      $974,202.34

Arjun, LP          First IC Bank                                          0981      04/30/20      $620,626.10
Arjun, LP          First IC Bank (CD's)                                   1879      04/30/20      $100,000.00

                                                                          Arjun, LP Subtotal    $25,112,132.68

Statim Holdings    Delta Community                        0880083132-Bus Savings    04/30/20             $5.00
Statim Holdings    Delta Community                       0880083132-5760731         04/30/20         $1,096.42
Statim Holdings    Delta Community                       0880083132-1789412         04/30/20           $100.00
Statim Holdings    Delta Community                      0880083132-Bus Mon Mkt      04/30/20     $1,024,308.27

Statim Holdings    Arjun Capital Acct                                   186590      04/30/20     $1,585,739.29

Statim Holdings    Nija Meyer                           Loan to Nija Meyer          04/30/20      $180,000.00

                                                                   Statim Holdings Subtotal      $2,791,248.98

                                                                       Arjun & Statim Total     $27,903,381.66
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                                           SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 4/01/2020 to 4/30/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date      Reference        Payee/Payor                          Purpose                     Amount

Brokerage Accounts - Securities Balances (Treasury Direct, Janney Montgomery)
 03/31/20                                                  Combined Beginning Balance $10,380,481.08
Apr 2020 Ledger Arjun, LP                            Change in cash (Janney; see below)         $47,592.64
 03/31/20 Ledger Arjun, LP                        Reverse: Mar 2020 accrued unrealized         -$57,455.33
 03/31/20 Ledger Arjun, LP                       Add: Apr 2020 accrued unrealized (net Janney)  $57,233.04
Apr 2020 Statement Janney Montgomery                                    Net income - Mar         $2,879.94
 04/30/20                                                                  Ending Balance $10,430,731.37

Brokerage Accounts - Accrued Interest (Treasury Direct, Janey Montgomery)
 03/31/20                                                         Beginning Balance            $32,313.33
Apr 2020 Ledger                                    Reverse: Mar 2020 accrued interest         -$32,313.33
Apr 2020 Ledger                                     Record: Apr 2020 accrued interest          $42,911.33
 04/30/20                                                            Ending Balance            $42,911.33

Janney Montgomery Scott, LLC, Account Number 4170-7125 (Cash & Money Mkt):
 03/31/20                                                        Beginning Balance $2,305,395.09
Apr 2020 Statement Janney Montgomery            Change in cash during month (see above) -$47,592.64
 04/30/20                                                            Ending Balance $2,257,802.45

Arjun, LP - CD Interest, Multiple Accounts (BMO Harris, First IC):
 03/31/20                                                          Beginning Balance           $22,484.04
Apr 2020 Ledger Arjun, LP                         Reverse: Mar 2020 accrued interest          -$22,484.04
Apr 2020 Ledger Arjun, LP                          Record: Apr 2020 accrued interest            $8,584.46
 04/30/20                                                            Ending Balance             $8,584.46

Arjun, LP - CD Interest, Janney Montgomery:
 03/31/20                                                             Beginning Balance         $2,222.95
Apr 2020 Ledger Arjun, LP                              Reverse: Mar 2020 accrued interest      -$2,222.95
Apr 2020 Ledger Arjun, LP                               Record: Apr 2020 accrued interest       $2,997.95
 04/30/20                                                                Ending Balance         $2,997.95

Arjun, LP - Investor Loans, Multiple Account Numbers:
 03/31/20                                                              Beginning Balance $9,370,091.47
 04/30/20 Loan Stmt Arjun, LP                  Loan payments by investors (see banks)              $0.00
 04/30/20 Loan Stmt Arjun, LP                                          Loans to Investors          $0.00
 04/30/20 Loan Stmt Arjun, LP                       Accrued Interest Income (not collections) $12,216.86
 03/31/20 Loan Stmt                                                      Ending Balance $9,382,308.33


 03/31/20                                                               Beginning Balance           $0.00
              Fee       BMO Harris               Accrued interest receivable                   $29,277.80
 04/30/20                                                                 Ending Balance       $29,277.80
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                                           SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 4/01/2020 to 4/30/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date     Reference         Payee/Payor                     Purpose                    Amount

Citizens Trust, Arjun, LP, Account Number 470078581:
 03/31/20                                                         Beginning Balance $1,000,702.34
 04/23/20     995024 Rubio CPA                                     Audit & Tax Fees   -$16,500.00
 04/27/20 Online Pmt Panoptic Fund Administrati                         Admin Fees    -$10,000.00
 04/30/20                                                           Ending Balance   $974,202.34
First IC Bank, Arjun, LP, Account Number: 0981:
 03/31/20                                                         Beginning Balance     $520,027.66
 04/14/20             First IC Bank                                    Matured CD       $100,000.00
 04/27/20 Interest    First IC Bank             Interest                                    $242.82
 04/30/20 Interest    First IC Bank             Interest                                    $355.62
 04/30/20                                                              Ending Balance   $620,626.10

Delta Community, Statim Holdings, Account Number: 0880083132-Business Money Market:
 03/31/20                                                      Beginning Balance $1,023,930.39
 04/30/20 Interest  Delta Community         Interest                                   $377.88
 04/30/20                                                         Ending Balance $1,024,308.27

Delta Community, Statim Holdings, Account Number: 0880083132-5760731:
 03/31/20                                                      Beginning Balance          $1,096.42
          Statement                                                    No Change              $0.00
 04/30/20                                                         Ending Balance          $1,096.42
Delta Community, Statim Holdings, Account Number: 0880083132 (Business Savings):
 03/31/20                                                      Beginning Balance              $5.00
                                                                       No Change              $0.00
 04/30/20                                                         Ending Balance              $5.00

Delta Community, Statim Holdings, Account Number: 0880083132 (Value Checking):
 03/31/20                                                      Beginning Balance           $100.00
Apr 2020                                                              No Change              $0.00
 04/30/20                                                         Ending Balance           $100.00

Arjun, LP, Statim Holdings Capital Account, Account Number: 186590:
 03/31/20                                                           Beginning Balance $1,603,974.22
Apr 2020 Allocation Arjun, LP                 Performance Allocation                    -$16,456.31
Apr 2020 Net Income Arjun, LP                 Allocation of Monthly Net Income           -$1,778.62
 04/30/20                                                             Ending Balance $1,585,739.29
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           STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                    Reporting Period 5/01/2020 to 5/31/2020
(Balances Subject to Audit)

FUND ACCOUNTING                                                                                                6/22/2020
                                                                                  Detail       Subtotal       Grand Total
Line 1            Beginning Balance (As of 4/30/2020): (Schedule 1.1)         $27,903,381.66
                  Increases in Fund Balance:
Line 2            Business Income
Line 3            Cash and Securities                                            -$11,144.10
Line 4            Interest/Dividend Income                                         $6,438.60
Line 5            Business Asset Liquidation
Line 6            Personal Asset Liquidation
Line 7            Third-Party Litigation Income
Line 8            Miscellaneous-Other                                            $11,538.84
                  Total Fund Available (Lines 1-8):                                             $6,833.34    $27,910,215.00
                  Decreases in Fund Balance:
Line 9            Disbursements (Loans) to Investors

Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Sched 10.1)
   Line 10b   Business Asset Expenses                                            -$57,287.08
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses                                                -$11,602.28
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses
     Line 10f Tax Administrator Fees and Bonds
     Line 10g Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                -$68,889.36
Line 11    Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a Distribution Plan Development Expenses:
              1. Fees:
                   Fund Administrator
                   Consultants
                   Legal Advisors
                  Tax Advisors
              2. Administrative Expenses
              3. Miscellaneous
             Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
              1. Fees:
                  Fund Administrator
             2. Administrative Expenses
             3. Investor Identification:
                  Notice/Publishing Approved Plan
                  Claims Processing
             4. Fund Administrator Bond
             5. Miscellaneous
            Total Plan Implementation Expenses
            Total Disbursement for Distribution Expenses Paid by the Fund
Line 12    Disbursements to Court/Other:
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other:
            Total Funds Disbursed (Line 9-11):                                                                  -$68,889.36
Line 13    Ending Balance (As of 5/31/2010):                                                                 $27,841,325.64
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           STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                            Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                    Reporting Period 5/01/2020 to 5/31/2020
(Balances Subject to Audit)


                                                                                  Detail       Subtotal      Grand Total
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a   Cash & Cash Investments                                                                        $7,705,347.44
   Line 14b   Investments                                                                                   $18,315,358.32
   Line 14c   Other Assets or Uncleared Funds                                                                $1,820,619.88
             Total Ending Balance of Fund - Net Assets                                                      $27,841,325.64

OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail       Subtotal      Grand Total
                  Report of Items NOT to be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    Consultants
                    Legal Advisors
               2. Administrative Expenses
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
     Line 15b       Plan Implementation Expenses Not Paid by the Fund:
                      1. Fees:
                           Fund Administrator
                           Consultants
                           Legal Advisors
                      2. Administrative Expenses
                      3. Investor Indentification:
                          Notice/Publishing Approved Plan
                          Claims Processing
                     4. Fund Administrator Bond
                     5. Miscellaneous
                    Total Plan Implementation Expenses Not Paid by the Fund
     Line 15c       Tax Administrator Fees & Bonds Not Paid by the Fund
                    Total Disbursements for Plan Administration Not Paid by the Fund
Line 16     Disbursements to Court/Other Not Paid by the Fund:
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17           DC & State Tax Payments
Line 18     No. of Claims:
   Line 18a   # of Claims Received This Reporting Period                                                         pending
   Line 18b   # of Claims Received Since Inception of (Receivership)
Line 19     No. of Claimants/Investors:
   Line 19a   # of Claimants/Investors Paid This Reporting Period
   Line 19b   # of Claimants/Investors Paid Since Inception (Receivership)
                                                                             Receiver:
                                                                             By: _____________________________
                                                                                    (signature)
                                                                                 ____________________________
                                                                                   (printed name)

                                                                             Date: ___________________________

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                                                 SCHEDULE 1.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 5/01/2020 to 5/31/2020

                                   DETAIL OF LINE 1, BEGINNING BALANCE

    Entity               Bank /Brokerage Name                Account Number          As of Date     Balance

Arjun, LP         TreasuryDirect-Securities               Arjun #H-448-199-007        04/30/20     (combined)
Arjun, LP         Janney Montgomery-Securities                       4170-7125        04/30/20    $10,430,731.37

Arjun, LP         Treasury Direct, Janney-Accr Interest                See above      04/30/20       $42,911.33

Arjun, LP         Janney Montgomery Scott - Cash                      4170-7125      4/30/2020     $2,257,802.45

Arjun, LP         Accrued Interest - CDs                               multiple       04/30/20         $8,584.46
Arjun, LP         Accrued Interest - CDs                     Janney Montgomery        04/30/20         $2,997.95
Arjun, LP         Loans to Investors                                   multiple       04/30/20     $9,382,308.33

Arjun, LP         BMO Harris (CD)                                    6900598944       04/30/20     $1,250,000.00
Arjun, LP         BMO Harris                                         4824436117       04/30/20        $29,277.80
Arjun, LP         BMO Harris [1]                                     4824436117       04/30/20        12,690.55

Arjun, LP         Citizens Trust                                      470078581       04/30/20      $974,202.34

Arjun, LP         First IC Bank                                             0981      04/30/20      $620,626.10
Arjun, LP         First IC Bank (CD's)                                      1879      04/30/20      $100,000.00

                                                                            Arjun, LP Subtotal    $25,112,132.68

Statim Holdings   Delta Community                           0880083132-Bus Savings    04/30/20             $5.00
Statim Holdings   Delta Community                          0880083132-5760731         04/30/20         $1,096.42
Statim Holdings   Delta Community                          0880083132-1789412         04/30/20           $100.00
Statim Holdings   Delta Community                         0880083132-Bus Mon Mkt      04/30/20     $1,024,308.27

Statim Holdings Arjun Capital Acct                                        186590      04/30/20     $1,585,739.29

Statim Holdings Nija Meyer                                Loan to Nija Meyer          04/30/20      $180,000.00

                                                                     Statim Holdings Subtotal      $2,791,248.98

                                                                         Arjun & Statim Total     $27,903,381.66
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                                                          SCHEDULE 3.1

                STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                        Reporting Period 5/01/2020 to 5/31/2020

                                             DETAIL OF LINE 3, CASH & SECURITIES

  Date          Bank Name     Account Nam Account No.         Ref.       Payor/Payee                  Purpose                   Amount


May 2020 Janney Montgomery       Arjun, LP      4170-7125 Deposit    Janney Montgomery Increase in cash Janney                  $1,504,350.19
May 2020 Janney Montgomery       Arjun, LP      4170-7125 Deposit    Janney Montgomery Change in cash Janney                   -$1,504,350.19
May 2020 Treasury Direct, Janney Arjun, LP   #H-448-199-007 Change   Treasury Direct, Janney Change in market value of account    -$11,144.10
                                                                                                   Arjun, LP Subtotal             -$11,144.10

                                                                                              Statim Holding Subtotal                  $0.00

                                                                                                Arjun & Statim Total             -$11,144.10
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                                                    SCHEDULE 4.1

             STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                             Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 5/01/2020 to 5/31/2020

                                 DETAIL OF LINE 4, INTEREST/DIVIDEND INCOME

  Date          Bank Name     Account Name Account No.    Ref.      Payor/Payee              Purpose            Amount

05/26/20 First IC Bank       Arjun, LP            0981 Deposit Arjun, LP          Interest                        $235.01
05/29/20 First IC Bank       Arjun, LP            0981 Deposit Arjun, LP          Interest                        $369.95
May 2020 Janney Montgomery   Arjun, LP       4170-7125 Deposit Arjun, LP          Interest                      $5,572.65
                                                                                         Arjun, LP Subtotal     $6,177.61

05/31/20   Delta Community   Statim Holdings 0880083132 Deposit Statim Holdings   Interest                        $260.99
                                                                                     Statim Holdings Subtotal

                                                                                       Arjun & Statim Total     $6,438.60
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                                                      SCHEDULE 8.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                      Reporting Period 5/01/2020 to 5/31/2020

                                       DETAIL OF LINE 8, MISCELLANEOUS-OTHER

  Date          Bank Name        Account Name Account No.   Ref.      Payor/Payee           Purpose                 Amount

May 2020 TreasuryDirect, Janney Arjun, LP     #H-448-199- Market Arjun, LP             Change in accrued interest   $10,951.32
May 2020 Multiple (CD's)        Arjun, LP     multiple     Interest Arjun, LP       Change in CD accrued interest    $2,777.26
May 2020 Janney Montgomery-CDsArjun, LP        4170-7125 Interest Arjun, LP         Change in CD accrued interest   -$2,189.74

                                                                                       Arjun, LP Subtotal           $11,538.84

                                                                                         Statim Subtotal                 $0.00

                                                                                      Arjun & Statim Total          $11,538.84
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                                              SCHEDULE 9.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                               Reporting Period 5/01/2020 to 5/31/2020

                     DETAIL OF LINE 9, DISBURSEMENTS (LOANS) TO INVESTORS

Date    Bank Name   Account NameAccount No.    Ref.     Payor/Payee            Purpose    Amount
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                                                       SCHEDULE 10b.1

           STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 5/01/2020 to 5/31/2020

                            DETAIL OF LINE 10b, BUSINESS ASSET AND OPERATING EXPENSES

 Date        Bank Name       Account NameAccount No.     Ref.           Payor/Payee                Purpose            Amount

05/27/20   Citizens Trust    Arjun, LP    470078581     995021 Taylor English             Legal Fees                 -$42,922.08
05/27/20   Citizens Trust    Arjun, LP    470078581     995026 Lightfoot Group, LLC       Accounting Fees             -$14,300.00
05/22/20   Citizens Trust    Arjun, LP    470078581 Online Pmt Safe Deposit Box payment   Safe Deposit Box Fee            -$65.00

                                                                                               Arjun, LP Total       -$57,287.08

                                                                                          Statim Holdings Total            $0.00

                                                                                          Arjun, LP & Statim Total   -$57,287.08
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                                                    SCHEDULE 10d.1

             STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                             Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 5/01/2020 to 5/31/2020

                                 DETAIL OF LINE 10d, INVESTMENT EXPENSES

  Date         Bank Name    Account Name Account No.      Ref.       Payor/Payee                Purpose               Amount

May 2020 Arjun, LP         Arjun, LP      Multiple     Interest   Arjun, LP        Accrual-Investor loan interest    $12,240.26

May 2020 Arjun, LP         Arjun, LP      Multiple     Loan PmtsArjun, LP          Investor Loan Payments                 $0.00
                                                                                         Arjun, LP Subtotal          $12,240.26


May 2020 Statim Holdings   Statim Holdings 186590      Monthly Arjun, LP           Chg Statim Capital in Arjun, LP   -$23,842.54
                                                                                      Statim Holdings Subtotal       -$23,842.54

                                                                                        Arjun & Statim Total         -$11,602.28
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                                              SCHEDULE 13.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 5/01/2020 to 5/31/2020

                                  DETAIL OF LINE 13, ENDING BALANCE

      Entity              Bank /Brokerage Name               Account Number          As of Date     Balance

Arjun, LP            TreasuryDirect-Securities            Arjun #H-448-199-007        05/31/20    (combined)
Arjun, LP            Janney Montgomery-Securities                    4170-7125        05/31/20    $8,920,809.73

Arjun, LP            Treasury Direct, Janney-Accr Inter                See above      05/31/20       $53,862.65

Arjun, LP            Janney Montgomery Scott - Cash                   4170-7125      5/31/2020     $3,762,152.64

Arjun, LP            Accrued Interest - CDs                            multiple       05/31/20        $11,361.72
Arjun, LP            Accrued Interest - CDs                  Janney Montgomery        05/31/20           $808.21
Arjun, LP            Loans to Investors                                multiple       05/31/20     $9,394,548.59

Arjun, LP             BMO Harris (CD)                                6900598944       05/31/20     $1,250,000.00
Arjun, LP             BMO Harris - Accrued Interest                  4824436117       05/31/20        $29,277.80
Arjun, LP             BMO Harris [1]                                 4824436117       05/31/20        12,690.55

Arjun, LP            Citizens Trust                                   470078581       05/31/20      $916,915.26

Arjun, LP            First IC Bank                                          0981      05/31/20      $621,231.06
Arjun, LP            First IC Bank (CD's)                                   1879      05/31/20      $100,000.00

                                                                            Arjun, LP Subtotal    $25,073,658.21

Statim Holdings      Delta Community                        0880083132-Bus Savings    05/31/20             $5.00
Statim Holdings      Delta Community                       0880083132-5760731         05/31/20         $1,096.42
Statim Holdings      Delta Community                       0880083132-1789412         05/31/20           $100.00
Statim Holdings      Delta Community                      0880083132-Bus Mon Mkt      05/31/20     $1,024,569.26

Statim Holdings      Arjun Capital Acct                                   186590      05/31/20     $1,561,896.75

Statim Holdings      Nija Meyer                           Loan to Nija Meyer          05/31/20      $180,000.00

                                                                     Statim Holdings Subtotal      $2,767,667.43

                                                                         Arjun & Statim Total     $27,841,325.64
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                                           SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 5/01/2020 to 5/31/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date      Reference        Payee/Payor                         Purpose                     Amount

Brokerage Accounts - Securities Balances (Treasury Direct, Janney Montgomery)
 04/30/20                                                 Combined Beginning Balance $10,430,731.37
May 2020 Ledger Arjun, LP                            Change in cash (Janney; see below) -$1,504,350.19
 05/01/20 Ledger Arjun, LP                        Reverse: Apr 2020 accrued unrealized        -$57,233.04
 05/31/20 Ledger Arjun, LP                      Add: May 2020 accrued unrealized (net Janney)  $46,088.94
May 2020 Statement Janney Montgomery                                   Net income - May         $5,572.65
 05/31/20                                                                 Ending Balance $8,920,809.73

Brokerage Accounts - Accrued Interest (Treasury Direct, Janey Montgomery)
 04/30/20                                                          Beginning Balance          $42,911.33
May 2020 Ledger                                     Reverse: Apr 2020 accrued interest       -$42,911.33
May 2020 Ledger                                     Record: May 2020 accrued interest         $53,862.65
 05/31/20                                                             Ending Balance          $53,862.65

Janney Montgomery Scott, LLC, Account Number 4170-7125 (Cash & Money Mkt):
 04/30/20                                                        Beginning Balance $2,257,802.45
May 2020 Statement Janney Montgomery            Change in cash during month (see above) $1,504,350.19
 05/31/20                                                            Ending Balance $3,762,152.64

Arjun, LP - CD Interest, Multiple Accounts (BMO Harris, First IC):
 04/30/20                                                          Beginning Balance           $8,584.46
May 2020 Ledger Arjun, LP                         Reverse: Apr 2020 accrued interest          -$8,584.46
May 2020 Ledger Arjun, LP                          Record: May 2020 accrued interest          $11,361.72
 05/31/20                                                            Ending Balance           $11,361.72

Arjun, LP - CD Interest, Janney Montgomery:
 04/30/20                                                             Beginning Balance        $2,997.95
May 2020 Ledger Arjun, LP                              Reverse: Apr 2020 accrued interest     -$2,997.95
May 2020 Ledger Arjun, LP                              Record: May 2020 accrued interest         $808.21
 05/31/20                                                                Ending Balance          $808.21

Arjun, LP - Investor Loans, Multiple Account Numbers:
 04/30/20                                                              Beginning Balance $9,382,308.33
 04/30/20 Loan Stmt Arjun, LP                  Loan payments by investors (see banks)              $0.00
 04/30/20 Loan Stmt Arjun, LP                                          Loans to Investors          $0.00
 04/30/20 Loan Stmt Arjun, LP                       Accrued Interest Income (not collections) $12,240.26
 05/31/20 Loan Stmt                                                      Ending Balance $9,394,548.59


 04/30/20                                                               Beginning Balance     $29,277.80
                        BMO Harris               Accrued interest receivable                       $0.00
 05/31/20                                                                  Ending Balance     $29,277.80


Citizens Trust, Arjun, LP, Account Number 470078581:
 04/30/20                                                             Beginning Balance      $974,202.34
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                                          SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 5/01/2020 to 5/31/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date     Reference        Payee/Payor                      Purpose                    Amount

 05/27/20     995026 Taylor English                                       Legal Fees    -$42,922.08
 05/27/20     995026 Lightfoot Group, LLC                            Accounting Fees    -$14,300.00
 05/22/20 Online Pmt Safe Deposit Box payment                   Safe Deposit Box Fee        -$65.00
 05/31/20                                                             Ending Balance    $916,915.26
First IC Bank, Arjun, LP, Account Number: 0981:
 04/30/20                                                         Beginning Balance     $620,626.10
 05/26/20 Interest    First IC Bank           Interest                                      $235.01
 05/29/20 Interest    First IC Bank           Interest                                      $369.95
 05/31/20                                                              Ending Balance   $621,231.06

Delta Community, Statim Holdings, Account Number: 0880083132-Business Money Market:
 04/30/20                                                      Beginning Balance $1,024,308.27
 05/31/20 Interest  Delta Community         Interest                                   $260.99
 05/31/20                                                         Ending Balance $1,024,569.26

Delta Community, Statim Holdings, Account Number: 0880083132-5760731:
 04/30/20                                                      Beginning Balance          $1,096.42
          Statement                                                    No Change              $0.00
 05/31/20                                                         Ending Balance          $1,096.42
Delta Community, Statim Holdings, Account Number: 0880083132 (Business Savings):
 04/30/20                                                      Beginning Balance              $5.00
                                                                       No Change              $0.00
 05/31/20                                                         Ending Balance              $5.00

Delta Community, Statim Holdings, Account Number: 0880083132 (Value Checking):
 04/30/20                                                      Beginning Balance           $100.00
                                                                      No Change              $0.00
 05/31/20                                                         Ending Balance           $100.00

Arjun, LP, Statim Holdings Capital Account, Account Number: 186590:
 04/30/20                                                           Beginning Balance $1,585,739.29
Apr 2020 Allocation Arjun, LP                 Performance Allocation                    -$22,350.33
Apr 2020 Net Income Arjun, LP                 Allocation of Monthly Net Income           -$1,492.21
 05/31/20                                                             Ending Balance $1,561,896.75
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 6/01/2020 to 6/30/2020
(Balances Subject to Audit)

FUND ACCOUNTING                                                                                               7/16/2020
                                                                                  Detail       Subtotal      Grand Total
Line 1            Beginning Balance (As of 5/31/2020): (Schedule 1.1)         $27,841,325.64
                  Increases in Fund Balance:
Line 2            Business Income
Line 3            Cash and Securities                                             -$6,380.03
Line 4            Interest/Dividend Income                                         $1,690.70
Line 5            Business Asset Liquidation
Line 6            Personal Asset Liquidation
Line 7            Third-Party Litigation Income
Line 8            Miscellaneous-Other                                            $13,680.52
                  Total Fund Available (Lines 1-8):                                             $8,991.19   $27,850,316.83
                  Decreases in Fund Balance:
Line 9            Disbursements (Loans) to Investors

Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals (Sched 10.1)
   Line 10b   Business Asset Expenses                                             -$5,454.00
   Line 10c   Personal Asset Expenses
   Line 10d   Investment Expenses                                                 -$2,685.34
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses
     Line 10f Tax Administrator Fees and Bonds
     Line 10g Federal and State Tax Payments
                Total Disbursements for Receivership Operations                                -$8,139.34
Line 11    Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a Distribution Plan Development Expenses:
              1. Fees:
                   Fund Administrator
                   Consultants
                   Legal Advisors
                  Tax Advisors
              2. Administrative Expenses
              3. Miscellaneous
             Total Plan Development Expenses
   Line 11b Distribution Plan Implementation Expenses:
              1. Fees:
                  Fund Administrator
             2. Administrative Expenses
             3. Investor Identification:
                  Notice/Publishing Approved Plan
                  Claims Processing
             4. Fund Administrator Bond
             5. Miscellaneous
            Total Plan Implementation Expenses
            Total Disbursement for Distribution Expenses Paid by the Fund
Line 12    Disbursements to Court/Other:
   Line 12a Investment Expenses/Court Registry Investment
           System (CRIS) Fees
   Line 12b Federal Tax Payments
            Total Disbursements to Court/Other:
            Total Funds Disbursed (Line 9-11):                                                                  -$8,139.34
Line 13    Ending Balance (As of 6/30/2010):                                                                $27,842,177.49
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          STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS & ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 6/01/2020 to 6/30/2020
(Balances Subject to Audit)


                                                                                  Detail       Subtotal     Grand Total
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a   Cash & Cash Investments                                                                      $11,505,044.79
   Line 14b   Investments                                                                                  $14,582,241.99
   Line 14c   Other Assets or Uncleared Funds                                                               $1,754,890.71
             Total Ending Balance of Fund - Net Assets                                                     $27,842,177.49

OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail       Subtotal     Grand Total
                  Report of Items NOT to be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by Fund:
   Line 15a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    Consultants
                    Legal Advisors
               2. Administrative Expenses
               3. Miscellaneous
             Total Plan Development Expenses Not Paid by the Fund
    Line 15b        Plan Implementation Expenses Not Paid by the Fund:
                      1. Fees:
                           Fund Administrator
                           Consultants
                           Legal Advisors
                      2. Administrative Expenses
                      3. Investor Indentification:
                          Notice/Publishing Approved Plan
                          Claims Processing
                     4. Fund Administrator Bond
                     5. Miscellaneous
                    Total Plan Implementation Expenses Not Paid by the Fund
    Line 15c        Tax Administrator Fees & Bonds Not Paid by the Fund
                    Total Disbursements for Plan Administration Not Paid by the Fund
Line 16     Disbursements to Court/Other Not Paid by the Fund:
   Line 16a    Investment Expenses/CRIS Fees
   Line 16b    Federal Tax Payments
             Total Disbursements to Court/Other Not Paid by the Fund:
Line 17           DC & State Tax Payments
Line 18     No. of Claims:
   Line 18a   # of Claims Received This Reporting Period                                                         Pending
   Line 18b   # of Claims Received Since Inception of (Receivership)
Line 19     No. of Claimants/Investors:
   Line 19a   # of Claimants/Investors Paid This Reporting Period
   Line 19b   # of Claimants/Investors Paid Since Inception (Receivership)
                                                                             Receiver:
                                                                             By: _____________________________
                                                                                    (signature)
                                                                                 ____________________________
                                                                                   (printed name)

                                                                             Date: ___________________________

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                                                 SCHEDULE 1.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 6/01/2020 to 6/30/2020

                                   DETAIL OF LINE 1, BEGINNING BALANCE

    Entity               Bank /Brokerage Name                Account Number          As of Date     Balance

Arjun, LP         TreasuryDirect-Securities               Arjun #H-448-199-007       05/31/20     (combined)
Arjun, LP         Janney Montgomery-Securities                       4170-7125       05/31/20     $8,920,809.73

Arjun, LP         Treasury Direct, Janney-Accr Interest                See above     05/31/20        $53,862.65

Arjun, LP         Janney Montgomery Scott - Cash                      4170-7125      5/31/2020     $3,762,152.64

Arjun, LP         Accrued Interest - CDs                               multiple      05/31/20         $11,361.72
Arjun, LP         Accrued Interest - CDs                     Janney Montgomery       05/31/20            $808.21
Arjun, LP         Loans to Investors                                   multiple      05/31/20      $9,394,548.59

Arjun, LP         BMO Harris (CD)                                    6900598944      05/31/20      $1,250,000.00
Arjun, LP         BMO Harris                                         4824436117      05/31/20         $29,277.80
Arjun, LP         BMO Harris [1]                                     4824436117      05/31/20         12,690.55

Arjun, LP         Citizens Trust                                      470078581      05/31/20       $916,915.26

Arjun, LP         First IC Bank                                             0981     05/31/20       $621,231.06
Arjun, LP         First IC Bank (CD's)                                      1879     05/31/20       $100,000.00

                                                                            Arjun, LP Subtotal    $25,073,658.21

Statim Holdings   Delta Community                           0880083132-Bus Savings   05/31/20              $5.00
Statim Holdings   Delta Community                          0880083132-5760731        05/31/20          $1,096.42
Statim Holdings   Delta Community                          0880083132-1789412        05/31/20            $100.00
Statim Holdings   Delta Community                         0880083132-Bus Mon Mkt     05/31/20      $1,024,569.26

Statim Holdings Arjun Capital Acct                                        186590     05/31/20      $1,561,896.75

Statim Holdings Nija Meyer                                Loan to Nija Meyer         05/31/20       $180,000.00

                                                                     Statim Holdings Subtotal      $2,767,667.43

                                                                         Arjun & Statim Total     $27,841,325.64
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                                                               SCHEDULE 3.1

                 STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                                 Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                         Reporting Period 6/01/2020 to 6/30/2020

                                                 DETAIL OF LINE 3, CASH & SECURITIES

 Date           Bank Name        Account Name Account No.           Ref.       Payor/Payee                   Purpose                    Amount

Jun 2020   Janney Montgomery         Arjun, LP       4170-7125 Deposit     Janney Montgomery Increase in cash Janney                          $786.64
Jun 2020   Janney Montgomery         Arjun, LP       4170-7125 Deposit     Janney Montgomery Change in cash Janney                           -$786.64
Jun 2020   Treasury Direct, Janney   Arjun, LP    #H-448-199-007 Change    Treasury Direct, Janney Change in market value of account       -$7,919.41
Jun 2020   Treasury Direct, Janney   Arjun, LP    #H-448-199-007 Deposit   Treasury Direct         Record Rec'l for Matured Treasury $3,739,000.00
Jun 2020   Treasury Direct, Janney   Arjun, LP    #H-448-199-007 Change    Treasury Direct         Record Matured Treasury             -$3,739,000.00
 6-30-20   Treasury Direct, Janney   Arjun, LP    #H-448-199-007 Change    Treasury Direct         Portion Matured Treasury above cost      $1,539.38
                                                                                                           Arjun, LP Subtotal              -$6,380.03

                                                                                                     Statim Holding Subtotal                   $0.00

                                                                                                      Arjun & Statim Total               -$6,380.03
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                                                       SCHEDULE 4.1

             STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                             Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                     Reporting Period 6/01/2020 to 6/30/2020

                                    DETAIL OF LINE 4, INTEREST/DIVIDEND INCOME

 Date          Bank Name         Account Name Account No.    Ref.      Payor/Payee              Purpose            Amount

06/26/20   First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                        $242.82
06/30/20   First IC Bank        Arjun, LP            0981 Deposit Arjun, LP          Interest                        $408.64
Jun 2020   Janney Montgomery    Arjun, LP       4170-7125 Deposit Arjun, LP          Interest                        $786.60
                                                                                            Arjun, LP Subtotal     $1,438.06

06/30/20   Delta Community      Statim Holdings 0880083132 Deposit Statim Holdings   Interest                        $252.64
                                                                                        Statim Holdings Subtotal

                                                                                         Arjun & Statim Total      $1,690.70
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                                                          SCHEDULE 8.1

                STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                        Reporting Period 6/01/2020 to 6/30/2020

                                          DETAIL OF LINE 8, MISCELLANEOUS-OTHER

  Date           Bank Name          Account Name Account No.      Ref.      Payor/Payee           Purpose                Amount

Jun 2020    TreasuryDirect, Janney Arjun, LP     #H-448-199-007Market     Arjun, LP          Change in accrued interest -$53,862.65
Jun 2020    Multiple (CD's)        Arjun, LP     multiple      Interest   Arjun, LP       Change in CD accrued interest   $2,687.67
Jun 2020    Janney Montgomery-CDsArjun, LP         4170-7125 Interest     Arjun, LP       Change in CD accrued interest     $394.87
6/30/2020   Treasury Direct        Arjun, LP    #H-448-199-007 Interest   Arjun, LP                Add accured interest $30,379.38
6/30/2020   Treasury Direct        Arjun, LP    #H-448-199-007 Interest   Arjun, LP                Add accured interest $34,081.25
                                                                                             Arjun, LP Subtotal          $13,680.52

                                                                                               Statim Subtotal               $0.00

                                                                                            Arjun & Statim Total        $13,680.52
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                                              SCHEDULE 9.1

       STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                       Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                               Reporting Period 6/01/2020 to 6/30/2020

                     DETAIL OF LINE 9, DISBURSEMENTS (LOANS) TO INVESTORS

Date    Bank Name   Account NameAccount No.    Ref.     Payor/Payee         Purpose    Amount
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                                                     SCHEDULE 10b.1

           STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                           Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                   Reporting Period 6/01/2020 to 6/30/2020

                         DETAIL OF LINE 10b, BUSINESS ASSET AND OPERATING EXPENSES

 Date        Bank Name     Account NameAccount No.     Ref.        Payor/Payee               Purpose              Amount

06/04/20   Citizens Trust  Arjun, LP    470078581      995021 BizFilings (online)   Legal Fees                      -$199.00
06/22/20   Citizens Trust  Arjun, LP    470078581      995026 Al Hill               Reimburse Oregon tax fee        -$150.00
06/16/20   Citizens Trust  Arjun, LP    470078581 Online Pmt Panoptic Fund Admin    Monthly admin fee             -$2,500.00
06/30/20   Citizens Trust  Arjun, LP    470078581 Online Pmt Panoptic Fund Admin    Ending Balance                -$2,500.00
06/30/20   Delta Community Arjun, LP    880083132 Fees        Delta Community       Overdraft fees (refundable)     -$105.00
                                                                                         Arjun, LP Total          -$5,454.00

                                                                                    Statim Holdings Total             $0.00

                                                                                    Arjun, LP & Statim Total      -$5,454.00
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                                                         SCHEDULE 10d.1

              STANDARDIZED FUND ACCOUNTING REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                              Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                                      Reporting Period 6/01/2020 to 6/30/2020

                                     DETAIL OF LINE 10d, INVESTMENT EXPENSES

 Date           Bank Name       Account Name Account No.       Ref.       Payor/Payee                Purpose               Amount

Jun 2020   Arjun, LP            Arjun, LP      Multiple     Interest   Arjun, LP        Accrual-Investor loan interest    $12,263.72

Jun 2020   Arjun, LP            Arjun, LP      Multiple     Loan PmtsArjun, LP          Investor Loan Payments                 $0.00
                                                                                              Arjun, LP Subtotal          $12,263.72


Jun 2020   Statim Holdings      Statim Holdings 186590      Monthly Arjun, LP           Chg Statim Capital in Arjun, LP   -$14,949.06
                                                                                           Statim Holdings Subtotal       -$14,949.06

                                                                                             Arjun & Statim Total          -$2,685.34
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                                            SCHEDULE 13.1

STANDARDIZED FUND ACCTG REPORT FOR STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 6/01/2020 to 6/30/2020

                               DETAIL OF LINE 13, ENDING BALANCE

      Entity           Bank /Brokerage Name               Account Number        As of Date     Balance

Arjun, LP         TreasuryDirect-Securities          Arjun #H-448-199-007       06/30/20     (combined)
Arjun, LP         Janney Montgomery-Securities                  4170-7125       06/30/20     $5,175,429.68

Arjun, LP         Treasury Direct, Janney-Accr Interest            See above     06/30/20            $0.00

Arjun, LP         Janney Montgomery Scott - Cash                  4170-7125     6/30/2020     $3,762,939.26

Arjun, LP         Accrued Interest - CDs                            multiple    06/30/20         $14,049.39
Arjun, LP         Accrued Interest - CDs                  Janney Montgomery     06/30/20          $1,203.08
Arjun, LP         Loans to Investors                                multiple    06/30/20      $9,406,812.31

Arjun, LP         Treasury Direct (Rec'l)                      #H-448-199-007    06/30/20     $3,803,460.63

Arjun, LP         BMO Harris (CD)                               6900598944      06/30/20      $1,250,000.00
Arjun, LP         BMO Harris - Accrued Interest                 4824436117      06/30/20         $29,277.80
Arjun, LP         BMO Harris [1]                                4824436117      06/30/20         12,690.55

Arjun, LP         Citizens Trust                                  470078581     06/30/20       $911,566.26

Arjun, LP         First IC Bank                                        0981     06/30/20       $621,882.52
Arjun, LP         First IC Bank (CD's)                                 1879     06/30/20       $100,000.00

                                                                       Arjun, LP Subtotal    $25,089,311.48

Statim Holdings   Delta Community                     0880083132-Bus Savings    06/30/20              $5.00
Statim Holdings   Delta Community                     0880083132-5760731        06/30/20          $1,096.42
Statim Holdings   Delta Community                     0880083132-1789412        06/30/20            $100.00
Statim Holdings   Delta Community                    0880083132-Bus Mon Mkt     06/30/20      $1,024,716.90

Statim Holdings   Arjun Capital Acct                                 186590      06/30/20     $1,546,947.69

Statim Holdings   Nija Meyer                        Loan to Nija Meyer          06/30/20       $180,000.00

                                                                Statim Holdings Subtotal      $2,752,866.01

                                                                    Arjun & Statim Total     $27,842,177.49
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                                            SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 6/01/2020 to 6/30/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date     Reference          Payee/Payor                          Purpose                       Amount

Brokerage Accounts - Securities Balances (Treasury Direct, Janney Montgomery)
 05/31/20                                                  Combined Beginning Balance $8,920,809.73
Jun 2020   Ledger Arjun, LP                          Change in cash (Janney; see below)              -$786.64
 06/30/20 Ledger Arjun, LP                       Reverse: May 2020 accrued unrealized             -$46,088.94
 06/30/20 Ledger Arjun, LP                       Add: Jun 2020 accrued unrealized (net Janney)     $38,169.53
 06/30/20 Ledger Arjun, LP                           Record Matured Treasury; see Rec'l below) -$3,739,000.00
 06/30/20 Ledger Arjun, LP                     Portion of Matured Treasury above cost (at 6-30)     $1,539.38
Jun 2020 Statement Janney Montgomery                                     Net income - June            $786.62
 06/30/20                                                                   Ending Balance $5,175,429.68

Brokerage Accounts - Accrued Interest (Treasury Direct, Janey Montgomery)
 05/31/20                                                          Beginning Balance              $53,862.65
Jun 2020   Ledger                                  Reverse: May 2020 accrued interest            -$53,862.65
Jun 2020   Ledger                                    Record: Jun 2020 accrued interest                 $0.00
 06/30/20                                                             Ending Balance                   $0.00

Janney Montgomery Scott, LLC, Account Number 4170-7125 (Cash & Money Mkt):
  05/31/20                                                       Beginning Balance $3,762,152.62
 Jun 2020 Statement Janney Montgomery           Change in cash during month (see above)   $786.64
  06/30/20                                                           Ending Balance $3,762,939.26

Arjun, LP - CD Interest, Multiple Accounts (BMO Harris, First IC):
 05/31/20                                                          Beginning Balance              $11,361.72
Jun 2020    Ledger Arjun, LP                      Reverse: May 2020 accrued interest             -$11,361.72
Jun 2020    Ledger Arjun, LP                        Record: Jun 2020 accrued interest             $14,049.39
 06/30/20                                                            Ending Balance               $14,049.39

Arjun, LP - CD Interest, Janney Montgomery:
 05/31/20                                                              Beginning Balance             $808.21
Jun 2020    Ledger Arjun, LP                            Reverse: May 2020 accrued interest          -$808.21
Jun 2020    Ledger Arjun, LP                             Record: Jun 2020 accrued interest         $1,203.08
 06/30/20                                                                 Ending Balance           $1,203.08

Arjun, LP - Rec'l Treasury Proceeds, Interest, Treasury Direct:
 05/31/20                                                                  Beginning Balance           $0.00
Jun 2020    Ledger Arjun, LP                        Record accrued interest-Jun 20, T 1 5/8, 6-30 $30,379.38
Jun 2020    Ledger Arjun, LP                      Record accrued interest, Jun 20, T 1 3/4, 12-31 $34,081.25
Jun 2020    Ledger Arjun, LP                     Record Proceeds Rec'l Matured Treasury $3,739,000.00
 06/30/20                                                                     Ending Balance $3,803,460.63

Arjun, LP - Investor Loans, Multiple Account Numbers:
 05/31/20                                                              Beginning Balance $9,394,548.59
 06/30/20 Loan Stmt Arjun, LP                       Accrued Interest Income (not collections) $12,263.72
 06/30/20 Loan Stmt                                                      Ending Balance $9,406,812.31
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                                             SCHEDULE 13.1.1

   STANDARDIZED FUND ACCOUNT REPORT-STATIM HOLDINGS/ARJUN, LP- Cash Basis
                Receivership, Civil Court Docket No. 1:18-cv-05868-LMM
                        Reporting Period 6/01/2020 to 6/30/2020

         DETAIL OF LINE 13, RECONCILIATION OF BEGINNING/ENDING BALANCES


  Date      Reference          Payee/Payor                          Purpose                     Amount

 05/31/20                                                                 Beginning Balance      $29,277.80
                        BMO Harris                 Accrued interest receivable                        $0.00
 06/30/20                                                                    Ending Balance      $29,277.80

Citizens Trust, Arjun, LP, Account Number 470078581:
 05/31/20                                                            Beginning Balance          $916,915.26
 06/04/20     995027 BizFilings (online)                                       Legal Fees          -$199.00
 06/22/20     995030 Al Hill                      Reimburse Oregon Partnership tax return fee      -$150.00
 06/16/20 Online Pmt Panoptic Fund Admin                             Monthly admin fee           -$2,500.00
 06/25/20 Online Pmt Panoptic Fund Admin                             Monthly admin fee           -$2,500.00
 06/30/20                                                                Ending Balance         $911,566.26
First IC Bank, Arjun, LP, Account Number: 0981:
 05/31/20                                                            Beginning Balance          $621,231.06
 06/26/20 Interest    First IC Bank          Interest                                               $242.82
 06/30/20 Interest    First IC Bank          Interest                                               $408.64
 06/30/20                                                                Ending Balance         $621,882.52

Delta Community, Statim Holdings, Account Number: 0880083132-Business Money Market:
 05/31/20                                                           Beginning Balance $1,024,569.26
 06/30/20 Interest  Delta Community         Interest                                        $252.64
 06/30/20 Fees      Delta Community         Overdraft fees (to be refunded)                -$105.00
 06/30/20                                                             Ending Balance $1,024,716.90

Delta Community, Statim Holdings, Account Number: 0880083132-5760731:
 05/31/20                                                      Beginning Balance                  $1,096.42
          Statement                                                    No Change                      $0.00
 06/30/20                                                         Ending Balance                  $1,096.42
Delta Community, Statim Holdings, Account Number: 0880083132 (Business Savings):
 05/31/20                                                      Beginning Balance                      $5.00
                                                                       No Change                      $0.00
 06/30/20                                                         Ending Balance                      $5.00

Delta Community, Statim Holdings, Account Number: 0880083132 (Value Checking):
 05/31/20                                                      Beginning Balance                   $100.00
                                                                      No Change                      $0.00
 06/30/20                                                         Ending Balance                   $100.00

Arjun, LP, Statim Holdings Capital Account, Account Number: 186590:
 05/31/20                                                           Beginning Balance $1,561,896.75
Jun 2020 Allocation Arjun, LP                 Performance Allocation                    -$14,034.98
Jun 2020 Net Income Arjun, LP                 Allocation of Monthly Net Income             -$914.08
 06/30/20                                                             Ending Balance $1,546,947.69
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                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing

Receiver’s Motion to Allow and Pay Fees and Expenses to the Receiver (Fourth

Interim Application) with Brief in Support with the Clerk of the Court using the

CM/ECF system, which will automatically send e-mail notification of such filing to

all attorneys of record.

      This 20th day of July, 2020.

                                            /s/ William G. Leonard
                                            WILLIAM G. LEONARD
                                            bleonard@taylorenglish.com




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